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John N. Zarian, ISB No. 7390
PARSONS BEHLE & LATIMER
960 Broadway Ave., Ste. 250
Boise, Idaho 83706
Telephone: (208) 562-4900
Facsimile: (208) 562-4901
Email: jzarian@parsonsbehle.com

Brandon J. Mark (pro hac vice)
Joseph M. Stultz (pro hac vice)
Alissa M. Mellem (pro hac vice pending)
PARSONS BEHLE & LATIMER
201 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 532-1234
Facsimile: (801) 536-6111
Email: bmark@parsonsbehle.com
        jstultz@parsonsbehle.com
        amellem@parsonsbehle.com
Attorneys for Relators and Plaintiffs Katie Brooks and Nannette Wride

                           UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA ex rel.
KATIE BROOKS and NANNETTE WRIDE,                       FILED PARTIALLY IN CAMERA
                                                      AND UNDER SEAL PURSUANT TO
       Plaintiffs,                                            31 U.S.C. § 3730
vs.

STEVENS-HENAGER COLLEGE, INC., a                    Case No. 1:13-cv-00009-BLW
Utah Corporation; CALIFORNIA COLLEGE
SAN DIEGO, INC., a Utah Corporation;
COLLEGEAMERICA DENVER, INC., a
Colorado Corporation; COLLEGEAMERICA                  SECOND AMENDED COMPLAINT
ARIZONA, INC., a Colorado Corporation;                    (PARTIALLY SEALED)
CENTER FOR EXCELLENCE IN HIGHER
EDUCATION, INC., an Indiana Corporation;
CARL BARNEY, an individual; SHAW,                           JURY TRIAL DEMANDED
MUMFORD & CO., P.C., an expired Utah
Professional Corporation; SHAW & CO., P.C., a
Utah Professional Corporation;
PRICEWATERHOUSECOOPERS LLP, a
Delaware Limited Liability Partnership; and
DOES 1-500, Inclusive,

       Defendants.
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       Relators and Plaintiffs Katie Brooks and Nannette Wride (collectively, “Relators”), on

behalf of themselves and the United States of America, complain as follows:

I.     INTRODUCTION

       1.      Relators incorporate by reference the United States of America’s Complaint in

Intervention (ECF No. 41) dated May 2, 2014.

       2.      This Second Amended Complaint alleges facts relating to and supporting the

United States of America’s Complaint in Intervention, in addition to other and separate claims.

To the extent this Second Amended Complaint alleges facts relating to claims the government

has intervened in, Relators acknowledge the primacy of the government’s complaint.

       3.      This action arises from false statements and claims that Defendant Stevens-

Henager College (“SHC”), its affiliated schools listed in the caption (collectively “Defendant

Schools”), and their owner, Carl Barney (“Barney”), knowingly presented to, or caused to be

presented to, the United States and the United States Department of Education in violation of the

federal False Claims Act, 31 U.S.C. §§ 3729-33 (“FCA”).

       4.      Defendant Schools and Barney knowingly presented and/or made, or caused to be

presented or made, the false claims and statements at issue in order to participate in the federal

student aid programs authorized pursuant to Title IV of the Higher Education Act of 1965, as

amended, 20 U.S.C. § 1070 et seq. (“Title IV, HEA programs”). Title IV, HEA programs, which

are administered by the United States Department of Education (“Department of Education”),

provide students with financial aid in the form of, among other things, federal Pell Grants,

federal direct student loans, and loans guaranteed by the federal government. Defendant Schools

and Barney presented and/or made numerous false claims and statements in order to obtain

eligibility to participate in Title IV, HEA programs.




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       5.      On information, Relators believe that from at least January 1, 2002, to the present,

Defendant Schools and Barney knowingly submitted, or caused to be submitted, numerous

claims for payment to the Department of Education based on these false certifications and

statements. Relators further believe that since at least January 1, 2002, to the present, Defendant

Schools and Barney have fraudulently induced the Department of Education into granting

Defendant Schools eligibility to participate in Title IV, HEA programs when, in fact, Defendant

Schools were ineligible to participate in those programs.

       6.      From approximately January 1, 2002, to the present, Defendant Schools and/or

students enrolled in Defendant Schools received over $660 million ($660,000,000.00) in federal

funds through Title IV, HEA programs. Neither Defendant Schools nor students attending the

schools were eligible to receive any of these funds.

       7.      Because Defendant Schools pay or have paid bonuses, commissions, and other

forms of incentive compensation to employees in the admissions departments based directly and

indirectly on the number of students that these employees enroll (or “start”) in Defendant

Schools, Defendant Schools’ compensation system, as actually implemented and practiced,

violates the incentive compensation ban applicable to schools that participate in Title IV, HEA

programs. Additionally, Defendant Schools’ compensation system for admissions personnel was

(and is) not eligible for any of the regulatory safe harbors, which were applicable during certain

relevant periods. Instead, the bonuses and commissions that Defendant Schools paid to

admissions personnel for recruiting students were exactly the types of incentive compensation

barred by the applicable statutes and regulations.

       8.      Even if Defendant Schools’ compensation system for admissions personnel, as

designed, was eligible for a regulatory safe harbor, which it was (and is) not, Defendant Schools’




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compensation system, as implemented and practiced, does not comply with the incentive

compensation ban or regulatory safe harbors. For example, Defendant Schools’ compensation

system paid bonuses and commissions to admissions personnel for recruiting students, which

bonuses and commissions were paid on a monthly basis. Therefore, such bonuses and

commissions were not a “fixed annual salary or a fixed hourly wage,” and they were “adjusted

up or down more than twice during any twelve month period.” 34 C.F.R. § 668.14(b)(22)(ii)(A)

(July 1, 2010). Additionally, because the bonuses and commissions were based directly and

indirectly on recruiting students, they were not “based upon students successfully completing

their educational programs, or one academic year of their educational programs.” 34 C.F.R.

§ 668.14(b)(22)(ii)(E) (July 1, 2010). Despite knowing that their compensation system, as

implemented, did (and does) not comply with Title IV of the HEA and its regulatory safe

harbors, Defendant Schools and Barney falsely represented and certified to the federal

government their compliance with Title IV of the HEA and submitted, or caused their students to

submit, claims for payment pursuant to Title IV, HEA programs. Accordingly, Defendant

Schools’ and Barney’s conduct violates the FCA.

II.     JURISDICTION AND VENUE

        9.       This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1345, and 31 U.S.C. §§ 3730, 3732.

        10.      This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. §

3732(a), which authorizes nationwide service of process, because Defendants transact business

and are found in this District and because acts proscribed by 31 U.S.C. § 3729 occurred in this

District.

        11.      Venue is proper in this District pursuant to 31 U.S.C. § 3732(a), and under 28

U.S.C. §§ 1391(b) and 1395(a), because Defendant Schools maintain and operate three campuses


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in this District (in Boise, Nampa, and Idaho Falls, Idaho) wherein the alleged violations occurred

on a regular basis.

III.   PARTIES

       12.     Relator and Plaintiff Katie Brooks is a resident and citizen of the State of Utah.

From March 2009 to approximately March 2011, Ms. Brooks was one of the highest performing

Admissions Consultants (“AC”) at SHC’s Orem, Utah, campus. In this position, Ms. Brooks

became aware of Defendant Schools’ compensation practices for ACs and Financial Aid Officers

(“FAOs”), as well as other material information. Defendant Schools employ numerous ACs at

each campus location to recruit new students into their programs. In her position, Ms. Brooks

also became aware of certain practices relating to SHC’s reporting of student grades and

attendance to the Department of Education and its accrediting agency.

       13.     Ms. Brooks brings this action for violations of the federal FCA on behalf of

herself and the United States of America. Ms. Brooks, through her work as an AC, has personal

knowledge of the false records, statements, and claims presented to the government by and for

the Defendant Schools named herein and of Defendant Schools’ fraudulent certification, billing,

and auditing practices.

       14.     Relator and Plaintiff Nannette Wride is a resident and citizen of the State of Utah.

From July 2009 to June 2011, SHC’s Orem campus employed Ms. Wride as a part-time AC and

part-time executive assistant to various manager agents of SHC. In the various positions she

held, Ms. Wride became aware of Defendant Schools’ compensation practices for ACs and

FAOs. Additionally, through her work at Defendant SHC’s Orem campus, Ms. Wride learned

about certain false statements and representations that Defendant SHC had made, and continued

to make, to SHC’s accrediting agency. In her position, Ms. Wride also became aware of certain




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practices relating to SHC’s reporting of student grades and attendance to the Department of

Education and its accrediting agency.

       15.     Ms. Wride brings this action for violations of the federal FCA on behalf of herself

and the United States of America. Ms. Wride, through her work as an AC and executive

assistant, has personal knowledge of the false records, statements, and claims presented to the

government and third parties (who, in turn, submitted false records and statements to the

government) by and for the Defendant Schools named herein and of Defendant Schools’

fraudulent certification, billing, and auditing practices.

       16.     As required under the FCA, 31 U.S.C. § 3730(b)(2), Relators, contemporaneously

with the filing of this Complaint, will provide to the United States Attorney for the District of

Idaho and the United States Attorney General a written disclosure of substantially all material

evidence and information related to this Complaint.

       17.     Relators are “original sources” as that term is defined in the FCA. 31 U.S.C.

§ 3730(e)(4)(B). Relators have independent, material, and first-hand knowledge of the

information on which the allegations of fraudulent misconduct are based. Relators voluntarily

provided such information to the Office of the Inspector General of the Department of Education

and the United States Attorneys for the Districts of Idaho and Utah on October 16, 2012.

Additionally, Ms. Wride orally provided information to the Department of Education at various

prior times, including in approximately May 2011.

       18.     The United States of America is named as a plaintiff because funds of the United

States of America were (and are) awarded and paid to Defendant Schools in connection with

their participation in Title IV, HEA programs, which participation is the result of the false claims

alleged in this Complaint.




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        19.    Defendant Schools operate for-profit (or “proprietary”) postsecondary educational

schools throughout the western United States. On or about December 31, 2012, all Defendant

Schools merged into an Indiana nonprofit corporation by the name of Center For Excellence in

Higher Education, Inc. (“CEHE”). On information, Relators believe that CEHE continues to

operate the schools under the same trade names as before. On information, Relators believe that

Defendant Schools merged into CEHE, at least in part, to evade certain regulatory requirements

that apply to for-profit schools but not to not-for-profit schools, particularly the requirement that

for-profit schools derive at least ten percent (10%) of their revenues from sources other than

Title IV, HEA programs. For the sake of simplicity and ease of reference, this Second Amended

Complaint will refer to all corporate school entities as “Defendant Schools” except where a

specific reference to a specific institution is necessary.

        20.    A substantial portion of Defendant Schools’ revenues came (and still come) from

funds provided through Title IV, HEA programs. Defendant Schools offer associate’s,

bachelor’s, and master’s degree programs in various disciplines.

        21.    Barney is the former sole shareholder of the corporate entities that operated

Defendant Schools. Until their merger into CEHE on December 31, 2012, the corporate entities

that operated Defendant Schools were all privately owned by Barney. Because Defendant

Schools were not public companies, specific information about ownership, control, and

management structure is not publicly available. On information, Relators believe that Barney is a

resident of Nevada. On information, Relators believe that Barney continues to manage and

control Defendant Schools and has an arrangement or relationship with CEHE, either personally

or through other entities he controls, through which he receives substantial compensation from

CEHE.




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       22.     Until December 31, 2012, Defendant SHC was a Utah corporation with its

principal place of business in Murray, Utah. Defendant SHC operated a number of campuses in

the intermountain west, including in Idaho (Boise and Nampa) and Utah (Salt Lake City/Murray,

Logan, Odgen, Layton, Lehi, Provo/Orem,1 and St. George). The SHC campuses have been

assigned at least the following identification codes by the Office of Postsecondary Education

(“OPEID Codes”)2: 00367400, 00367401, 00367403, 00367405, and 00367406. On information,

Relators believe that CEHE continues to operate these campuses under the “Stevens-Henager

College” trade name.

       23.     Additionally, Defendant SHC operated and controlled Independence University

(“IU”), an Internet-based, distance-learning institution. On information, Relators believe that IU

was, or was treated as, an operating division of SHC. IU has been assigned at least the following

OPEID Code: 00367409. On information, Relators believe that CEHE continues to operate IU

under the “Independent University” trade name and that IU continues to have a strong affiliation

with the campuses operating under the “Stevens-Henager College” trade name.

       24.     Until December 31, 2012, Defendant California College San Diego, Inc.

(“CCSD”), was a Utah corporation with its principal place of business in Salt Lake City, Utah.

Defendant CCSD operated three campuses in southern California (San Diego, National City, and

San Marcos). The CCSD campuses have been assigned at least the following OPEID Code:

02110800. On information, Relators believe that CEHE continues to operate these campuses

under the “California College San Diego” trade name.



1
  Although most SHC materials refer to the campus where Relators worked as the “Provo”
campus, it was actually located in Orem, Utah.
2
  The Department of Education and other agencies transact business, collect and report data, and
track school performance using OPEID Codes, among other methods.


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       25.     Until December 31, 2012, Defendant CollegeAmerica Denver, Inc. (“CAD”), was

a Colorado corporation with its principal place of business in Denver, Colorado.

       26.     Until December 31, 2012, Defendant CollegeAmerica Arizona, Inc. (“CAA”),

was a Colorado corporation with its principal place of business in Flagstaff, Arizona.

       27.     Defendants CAD and CAA operate eight campuses in four states: two in Arizona

(Flagstaff and Phoenix), four in Colorado (Denver, Colorado Springs, South Colorado Springs,

and Fort Collins), one in Wyoming (Cheyenne), and one in Idaho (Idaho Falls).

       28.     Defendants CAD and CAA hold themselves out to the public as a single operating

entity under the name “CollegeAmerica.” For example, CAD and CAA jointly operate a website

that lists all eight campuses and makes no distinction between the two corporate entities. The

CollegeAmerica campuses have been assigned at least the following OPEID Codes: 03120300,

03120301, 03120302, 02594300, 02594301, 02594302, and 02594303. On information, Relators

believe that CEHE continues to operate these campuses under the “CollegeAmerica” trade name.

       29.     Until December 31, 2012, Defendants SHC, CCSD, CAD, and CAA advertised

and held themselves out to the public as related and affiliated schools. For example, Defendants

SHC, CCSD, CAD, and CAA published and used a single unified catalog of courses for students,

which displayed the names and trademarks of each such Defendant School prominently on the

cover. Additionally, the homepages of the websites belonging to Defendants SHC, CCSD, CAD,

and CAA were virtually identical, except for the change in the name of the school. The

homepages of the websites for CCSD and CAD/CAA explained that “[o]nline programs are

offered by our affiliated college, Stevens-Henager College Salt Lake City/Murray.” (See

http://www.collegeamerica.edu/ (last visited Oct. 31, 2012); http://www.cc-sd.edu/ (last visited

Oct. 31, 2012).)




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       30.     Since the merger of Defendant Schools into CEHE, the connection between the

schools has become even more apparent. The websites for each of the schools now states that the

schools’ trade names are “a registered mark of Center for Excellence in Higher Education, Inc.”

       31.     CEHE is an Indiana non-profit corporation with its principal place of business in

Salt Lake City/Murray, Utah—at the same address as the former headquarters for both SHC and

CCSD. As the corporate successor to Defendant Schools, CEHE is liable for the acts and

omissions of Defendant Schools. Insofar as the merger of Defendant Schools into CEHE has

caused or resulted in the dissipation of corporate assets with the purpose or effect of defrauding

creditors, including potential judgment creditors, or attempting to make such assets inaccessible

to potential judgment creditors, other entities and individuals may also face liability.

       32.     On information, Relators believe that despite the merger of the separate schools

into CEHE, the schools continue to operate more or less as they did prior to the merger. On

information, Relators believe and allege that the merger of the schools into CEHE, a non-profit,

was intended to evade certain regulations and requirements that apply to for-profit schools but

not non-profit schools,




                                           REDACTED


       33.     Defendant Shaw, Mumford & Co., P.C. (“Shaw Mumford”), is an expired Utah

professional corporation. On information, Relators believe and allege that Shaw Mumford

conducted the required audits of Defendant Schools, described further below, for the years 2007




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and 2008. On information, Relators believe and allege that Shaw Mumford is the predecessor-in-

interest to Defendant Shaw & Co, P.C.

       34.      Defendant Shaw & Co, P.C. (“Shaw & Co.”), is a Utah professional corporation.

On information, Relators believe and allege that Shaw & Co. conducted the required audits of

Defendant Schools for 2013. On information, Relators believe and allege that Shaw & Co. is the

successor-in-interest to Shaw Mumford.

       35.      Defendant PricewaterhouseCoopers LLP (“PwC”) is a Delaware limited liability

partnership. On information, Relators believe and allege that PwC conducted the required audits

of Defendant Schools for the years 2009, 2010, 2011, and 2012. Collectively, Shaw Mumford,

Shaw & Co., and PwC are referred to herein as “Defendant Auditors.”

       36.      Relators are unaware of the true names and capacities of the defendants sued as

Does 1 through 500 (collectively with Defendant Schools and Defendant Auditors,

“Defendants”). Relators will amend their complaint when the true names and capacities have

been ascertained. Each Doe Defendant is responsible in some actionable manner for the events,

occurrences, injuries, and damages alleged herein.

       37.      The terms “Defendants,” “Defendant Schools,” and “Defendant Auditors” will

refer to the Defendants identified herein acting by and through their managerial employees, and

each of them.

       38.      Managerial employees of the Defendants, in doing the acts and things described

in this Complaint, were acting within the course and scope of their respective agencies and/or

employment with the Defendants, and each of them, with the knowledge and consent of the

Defendants, and each of them, unless otherwise indicated.




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       39.     At all relevant times, each Defendant was the authorized agent of each other

Defendant.

IV.    FEDERAL FALSE CLAIMS ACT

       40.     For violations occurring prior to May 20, 2009, the false claims provision of the

FCA, at 31 U.S.C. § 3729(a)(1)(1986), provides in pertinent part that a person is liable to the

United States government for each instance in which the person “knowingly presents, or causes

to be presented, to an officer or employee of the United States Government . . . [a] false or

fraudulent claim for payment or approval.”

       41.     For violations occurring on or after May 20, 2009, the false claims provision of

the FCA, at 31 U.S.C. § 3729(a)(1)(A) (2009), as amended by the Fraud Enforcement and

Recovery Act of 2009 (“FERA”), provides in pertinent part that any person who “knowingly

presents, or causes to be presented, a false or fraudulent claim for payment or approval” shall be

liable to the United States Government.

       42.     The FCA defines the term “claim” to mean

               any request or demand, whether under a contract or otherwise, for
               money or property and whether or not the United States has title to
               the money or property, that (i) is presented to an officer, employee,
               or agent of the United States; or (ii) is made to a contractor,
               grantee, or other recipient, if the money or property is to be spent
               or used on the Government’s behalf or to advance a Government
               program or interest, and if the United States Government (I)
               provides or has provided any portion of the money or property
               requested or demanded; or (II) will reimburse such contractor,
               grantee, or other recipient for any portion of the money or property
               which is requested or demanded . . . .

31 U.S.C. § 3729(b)(2)(A) (2009).

       43.     The false statements provision of the FCA, prior to the FERA amendments,

provides that a person is liable to the United States Government for each instance in which the

person “knowingly makes, uses, or causes to be made or used, a false record or statement to get a


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false or fraudulent claim paid or approved by the Government.” 31 U.S.C. § 3729(a)(2) (1986).

As amended by FERA, the false statements provision of the FCA makes liable any person who

“knowingly makes, uses, or causes to be made or used, a false record or statement material to a

false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(B) (2009).

         44.    The FCA, as amended by FERA, defines “material” as “having a natural tendency

to influence, or be capable of influencing, the payment or receipt of money or property.”

31 U.S.C. § 3729(b)(4) (2009).

         45.    The FCA defines the terms “knowing” and “knowingly” to mean that a person,

with respect to information: (1) “has actual knowledge of the information”; (2) “acts in deliberate

ignorance of the truth or falsity of the information”; or (3) “acts in reckless disregard of the truth

or falsity of the information.” 31 U.S.C. § 3729(b) (1986); 31 U.S.C. § 3729(b)(1)(A) (2009).

The FCA further provides that “no proof of specific intent to defraud” is required. 31 U.S.C.

§ 3729(b) (1986); 31 U.S.C. § 3729(b)(1)(B) (2009).

V.       TITLE IV OF THE HIGHER EDUCATION ACT OF 1965

        A.     General Provisions

         46.    Under Title IV of the Higher Education Act of 1965 (“HEA”), 20 U.S.C. §§ 1070

et seq., Congress established various student loan and grant programs, including but not limited

to the Federal Pell Grant Program (“Pell Grant program”), the Federal Family Education Loan

Program (“FFELP”),3 and the Federal Direct Loan Program (“FDLP”) (collectively “Title IV

funding”) in order to financially assist eligible students in obtaining a post-secondary education.

         47.    Although the mechanism by which Title IV funding is disbursed to eligible

students under the Title IV, HEA programs varies by program, each Title IV, HEA program



3
    No new loans were made under FFELP after July 1, 2010.


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requires compliance with specific conditions and obligations, and certification of compliance

with such conditions and obligations, as a prerequisite to earning and obtaining Title IV funding.

       48.     In order to become eligible to receive Title IV funding under programs such as the

Pell Grant program, FFELP, or FDLP, or to have its students receive Title IV funding, a post-

secondary educational institution must first enter into a program participation agreement

(“PPA”) with the Department of Education. 20 U.S.C. § 1094(a); 34 C.F.R. § 668.14.

       49.     Each PPA expressly conditions a school’s initial and continuing eligibility to

receive funds under Title IV, HEA programs on compliance with specific statutory requirements,

including 20 U.S.C. § 1094 and 34 C.F.R. § 668.14.

      B.      Incentive Compensation Ban

       50.     Section 487(a)(20) of Title IV of the HEA explicitly requires that in order to be

eligible to receive Title IV funding, schools “[w]ill not provide any commission, bonus, or other

incentive payment based directly or indirectly on success in securing enrollments or financial aid

to any persons or entities engaged in any student recruiting or admission activities or in making

decisions regarding the award of student financial assistance.”         20 U.S.C. § 1094(a)(20)

(“Incentive Compensation Ban”). Title IV of the HEA expressly conditions the initial and

continuing eligibility of schools to obtain Title IV funding on the requirement that the schools

comply with the Incentive Compensation Ban.

       51.     The Department of Education’s regulations further reiterate that schools must

comply with the Incentive Compensation Ban in order to be eligible to receive Title IV funding

and that schools must expressly agree to the Incentive Compensation Ban in PPAs. 34 C.F.R.

§ 668.14(b)(22) (“Incentive Compensation Regulations”).

       52.     In 2002, the Incentive Compensation Regulations accompanying the Incentive

Compensation Ban were amended to clarify that certain types of compensation did not violate


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the Incentive Compensation Ban. These regulatory safe harbors were intended to “provide

guidance to institutions so they may adopt compensation arrangements that do not run afoul of

the incentive compensation prohibition contained in section 487(a)(20) of the HEA.”

Adjustments to Employee Compensation (Section 668.14(b)(22)(ii)(A)), 67 Fed. Reg. 67054,

67055 (Nov. 1, 2002).

       53.    Relevant to this Second Amended Complaint, the 2002 amendments to the

Incentive Compensation Regulations included a safe harbor allowing schools to pay “fixed

compensation, such as a fixed annual salary or a fixed hourly wage, as long as that compensation

is not adjusted up or down more than twice during any twelve month period, and any adjustment

is not based solely on the number of students recruited, admitted, enrolled, or awarded financial

aid.” 34 C.F.R. §668.14(b)(22)(ii)(A) (July 1, 2010) (“Regulatory Safe Harbor A”).

       54.    With respect to the Regulatory Safe Harbor A, in the Preamble to the Notice of

Proposed Rulemaking for the safe harbor, the Secretary of the Department of Education

reminded post-secondary educational institutions that salary adjustments based solely on the

number of students recruited, admitted, enrolled, or awarded financial aid do not fall within the

safe harbor, that the Regulatory Safe Harbor A was not intended to protect salary adjustments

that are formulated to circumvent the statutory prohibition against incentive compensation, and

that salary adjustments based on success in securing enrollments remain prohibited. Program

Participation Agreement (Section 668.14), 67 Fed. Reg. 51722, 51723 (Aug. 8, 2002).

       55.    Also relevant to this Complaint, the 2002 amendments to the Incentive

Compensation Regulations included a safe harbor permitting to schools to pay “[c]ompensation

that is based upon students successfully completing their educational programs, or one academic




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year of their educational programs, whichever is shorter.” 34 C.F.R. § 668.14(b)(22)(ii)(E)

(“Regulatory Safe Harbor E”).

       56.     With respect to the Regulatory Safe Harbor E, in the Preamble to the Notice of

Proposed Rulemaking for the safe harbor, the Secretary of the Department of Education

explained that the Incentive Compensation Ban was intended, in part, “to prevent institutions

from enrolling students into a program without regard to their qualifications or likelihood of

completing the program,” that “completion of the program or . . . the completion of the first

academic year is a reliable indicator that the student was qualified for the program,” and, as a

result, the safe harbor allows schools to make payments that are “based upon students’ successful

completion of their educational program, or one academic year for a longer program.” Program

Participation Agreement (Section 668.14), 67 Fed. Reg. 51722, 51724 (Aug. 8, 2002).

       57.     In each PPA, a school certifies that “[t]he execution of this Agreement by the

Institution and the Secretary is a prerequisite to the Institution’s initial or continued participation

in any Title IV, HEA Program.” (See Example of Standard PPA at 1, attached hereto as Exhibit

1.) The PPA further states that a school’s participation in Title IV, HEA programs is “subject to

the terms and conditions of this Agreement.” (Id. at 2.)

       58.     The PPA further provides, among other things, that

               [b]y entering into this Program Participation Agreement, the
               Institution agrees that . . . (22) It will not provide, nor contract with
               any entity that provides, any commission, bonus, or other incentive
               payment based directly or indirectly on success in securing
               enrollments or financial aid to any persons or entities engaged in
               any student recruiting or admission activities or in making
               decisions regarding the awarding of student financial assistance.

(Id.) This certification is a critical prerequisite for a school’s eligibility to request and receive

Title IV funding.




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         59.   Congress enacted the prohibition against paying commissions, bonuses, or other

incentive payments based on success in recruiting students because such payments were

associated with high loan default rates, which in turn resulted in a significant drain on program

funds.    When Congress amended the HEA in 1992 to prohibit schools from paying these

incentives, it did so based on evidence of serious program abuses, including the payment of

incentive compensation to motivate admissions personnel to enroll students without regard to the

students’ ability to benefit from the education. S. Rep. No. 58, 102d Cong., 1st Sess., at 8 (1991)

(“Abuses in Federal Student Aid Programs”) (noting testimony “that contests were held whereby

sales representatives earned incentive awards for enrolling the highest number of students for a

given period”); H.R. Rep. No. 447, 102d Cong., 2d Sess., at 10, reprinted in 1992 U.S.C.C.A.N.

334, 343 (noting new provisions that “include prohibiting the use of commissioned sales persons

and recruiters”).     The U.S. Senate committee with oversight responsibility recently

acknowledged that systemic fraud and abuse continues unabated among for-profit colleges. S.

Comm. on Health, Education, Labor, and Pensions, 112th Cong., For Profit Higher Education:

The Failure to Safeguard the Federal Investment and Ensure Student Success (Comm. Print July

30, 2012).

         60.   In June 2010, the Department of Education proposed to eliminate many of the

regulatory safe harbors, including Regulatory Safe Harbor A and Regulatory Safe Harbor E. The

Department explained that the elimination of the safe harbors was necessary because “[s]ince

[the adoption of the regulatory safe harbors], the Department’s experience demonstrates that

unscrupulous actors routinely rely upon these safe harbors to circumvent the intent of section

487(a)(20) of the HEA.” Incentive Compensation (§ 668.14(b)), 75 Fed. Reg. 34816, 34817

(June 18, 2010). The Department concluded that “rather than serving to effectuate the goals




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intended by Congress through its adoption of section 487(a)(20) of the HEA, the safe harbors

have served to obstruct those objectives.” Id.

       61.        In particular, the Department of Education observed that while many schools had

adopted compensation practices that complied with the regulatory safe harbors “on paper,” “in

practice” those same schools had used compensation practices that directly violated the Incentive

Compensation Ban and failed to comply with both the letter and spirit of the safe harbor

provisions. Id.

       62.     The Department of Education promulgated final regulations eliminating the

regulatory safe harbors, including Regulatory Safe Harbor A and Regulatory Safe Harbor E, on

October 29, 2010, effective July 1, 2011. Program Integrity Issues, 75 Fed. Reg. 66832, 66832

(October 29, 2010); 34 C.F.R. § 668.14(b)(22) (2011).

      C.      Audit Requirement

       63.     In order to maintain its eligibility to receive Title IV funding, each year a school

participates in any Title IV, HEA program, it also must provide the Department of Education

with an annual compliance audit of its administration of Title IV, HEA programs, as well as an

audit of the school’s general purpose financial statements, prepared by independent auditors. 20

U.S.C. § 1094(c)(1)(A); 34 C.F.R. §§ 668.23(a)(2), (a)(4). For-profit educational institutions,

like Defendant Schools, must conduct their annual financial statements and compliance audits in

accordance with the Department of Education Office of Inspector General’s Audit Guide.

       64.        The Department of Education uses the results of the compliance and financial

statements audits in part to determine whether schools receiving Title IV funding are adhering to

applicable requirements for Title IV, HEA programs, including the Incentive Compensation Ban.

As part of the annual audits, Defendant Schools are required to certify, in the form of written

“Required Management Assertions,” that, among other things, they are complying with the


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requirements for eligibility to participate in Title IV, HEA programs, including the Incentive

Compensation Ban.       (See Department of Education Audit Guide (“Audit Guide”) at II-3,

attached hereto as Exhibit 2.) Specifically, Defendant Schools must certify in their “Required

Management Assertions” regarding “Institutional Eligibility and Participation” that they have

“[n]ot paid to any persons or entities any commission, bonus, or other incentive payment based

directly or indirectly on success in securing enrollments, financial aid to students, or student

retention [34 C.F.R. § 668.14(b)(22)].” (Id. at p. II-4.)




                                        REDACTED




      E.      Accreditation Requirement

       67.     As a condition to be eligible to participate in Title IV, HEA programs and to earn

and receive Title IV funding, schools must also “meet the requirements established

by . . . accrediting agencies or associations.”        20 U.S.C. § 1094(a)(21) (“Accreditation

Requirement”).

       68.     The accreditation process ensures that before a school receives Title IV funding,

the school has effective educational programs and has met high standards of quality. The

accrediting agencies, by rigorously investigating the schools and their educational programs and

determining whether they meet the Department of Education’s and the agencies’ standards, help




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guarantee that the federal government, the Department of Education, and taxpayers are receiving

a valuable educational product in exchange for the Title IV funding.

       69.     The PPAs that all schools must sign in order to participate in Title IV, HEA

programs, and to be eligible to receive Title IV funding, explicitly provide that the schools “will

meet the requirements established pursuant to part H of Title IV of the HEA by . . . nationally

recognized accrediting agencies.” 34 C.F.R. § 668.14(b)(23).

       70.     “[F]or purposes of student assistance programs,” the HEA defines “proprietary

institution of higher education,” which is the category to which Defendant Schools belong, as a

school that, among other things, “is accredited by a nationally recognized accrediting agency or

association recognized by the Secretary.” 20 U.S.C. § 1002(b)(1).

       71.     In order to be recognized by the Secretary of Education as an accrediting agency,

an agency must establish “sufficiently rigorous” “standards for accreditation” that include

provisions for, among other areas, “faculty.” 34 C.F.R. § 602.16(a).

       72.     Before accrediting a school or program, an accrediting agency must “[c]onduct[]

at least one on-site review of the institution or program during which it obtains sufficient

information to determine if the institution or program complies with the agency’s standards.” 34

C.F.R. § 602.17(c).

       73.     An accrediting agency must “provide written notice of its accrediting decisions to

the Secretary,” including about “[a] decision to renew an institution’s or program’s

accreditation.” 34 C.F.R. § 602.26.

      F.      Attendance-Taking and Refund Requirement

       74.     Schools participating in Title IV, HEA programs are required to carefully and

accurately track and report student attendance for a number of reasons.




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            75.   If a student enrolls at a school but fails to attend class, the school is obligated to

refund any Title IV funding received for that student to the Department of Education within a

specified period of time. 34 C.F.R. § 668.21(a), (c); 20 U.S.C. § 1091b.

            76.   Similarly, if a student enrolls and attends some classes but then subsequently

stops attending classes, the school is obligated to calculate the amount of Title IV funding the

student earned and to refund any Title IV funding the school received in excess of the amount

earned to the Department of Education. 34 C.F.R. § 668.22(a)(1) (Schools are obligated to

“determine the amount of title IV grant or loan assistance that the student earned as of the

student’s withdrawal date.”); 34 C.F.R. § 668.22(a)(4) (The “difference between these amounts

must be returned to the title IV programs.”); see also 20 U.S.C. § 1091b; 34 C.F.R. §§ 668.22(b),

(g), (i).

            77.   Under the applicable the regulations, “a student is considered to have withdrawn

from a payment period or period of enrollment” if, in the case of a program measured in credit

hours (as are Defendant Schools’ programs), “the student does not complete all the days in the

payment period or period of enrollment that the student was scheduled to complete.” 34 C.F.R. §

668.22(a)(2)(i)(A).

            78.   The applicable regulations also dictate exactly how schools must determine a

student’s withdrawal date. For “an institution that is required to take attendance,” “the student's

withdrawal date is the last date of academic attendance as determined by the institution from its

attendance records.” 34 C.F.R. § 668.22(b).

            79.   A school is “required to take attendance if” either an “outside entity (such as the

institution’s accrediting agency or a State agency) has a requirement that the institution take




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attendance” or “[t]he institution itself has a requirement that its instructors take attendance.” 34

C.F.R. § 668.22(b)(3)(i)(A), (B).

       80.     As discussed in more detail below, the Accrediting Commission of Career

Schools and Colleges (“ACCSC”) is Defendant Schools’ accrediting agency. (A copy of

ACCSC’s Standards of Accreditation is attached hereto as Exhibit 3.)

       81.     ACCSC’s accrediting standards require accredited schools, including Defendant

Schools, to create, publish, and enforce attendance policies that “must promote sufficient levels

of student attendance such that the required knowledge, skills, and competencies can be

reasonably achieved.” (See generally ACCSC “Standards of Accreditation,” Ch.2, Sec. VII.)

       82.     Indeed, Defendant Schools’ written policies also require the taking of attendance.

(See, e.g., Defendant Schools’ Combined Course Catalog 2012 at 78.)

       83.     When they enter into PPAs with the Department of Education, all schools must

certify they are complying and will continue to comply with the statutes and regulations relating

to attendance-taking and refund calculations.

       84.     Because a student’s withdrawal date is determined from the school’s attendance

records and because the determination of the withdrawal date directly affects how much money a

school must refund to the Department of Education following a withdrawal, it is important that

the school accurately record and report student attendance so that the correct refund amount is

calculated. However, because schools may retain more money if the withdrawal date is

postponed, schools have a strong financial incentive to misreport the attendance of students who

withdraw.

      G.      Academic Progress Requirements

       85.     Schools participating in Title IV, HEA programs must also create and enforce

reasonable standards of academic performance.


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       86.     Under applicable regulations, “[a]n institution must establish a reasonable

satisfactory academic progress policy for determining whether an otherwise eligible student is

making satisfactory academic progress in his or her educational program and may receive

assistance under the title IV, HEA programs.” 34 C.F.R. §§ 668.34(a); see also 20 U.S.C.

§ 1091(a)(2) (requiring students to make satisfactory progress); 20 U.S.C. § 1091(c) (defining

satisfactory academic progress); 34 C.F.R. § 668.14(b)(24); 34 C.F.R. § 668.16(e)(2)(i).

       87.     Such a policy must include “the grade point average (GPA) that a student must

achieve at each evaluation” in order to remain eligible to receive Title IV funding. 34 C.F.R.

§§ 668.34(a)(4)(i).

       88.     Furthermore, ACCSC must require that all schools that it accredits establish

standards regarding “[s]uccess with respect to student achievement,” 34 C.F.R. § 602.16(a)(1)(i);

20 U.S.C. § 1099b(a)(5), and Defendant Schools must follow those standards to be eligible to

receive Title IV funding, 34 C.F.R. § 668.14(b)(23).

       89.     Indeed, the ACCSC’s Standards of Accreditation include such requirements. (See

generally ACCSC “Standards of Accreditation,” Ch. 2, Sec. VII, Exhibit 3.)

       90.     When they enter into PPAs with the Department of Education, all schools must

certify they are complying and will continue to comply with the statutes and regulations relating

to academic performance.

       91.     As with the attendance-tracking requirement, it important for schools to establish

and enforce reasonable academic performance standards and to actually and genuinely grade

student performance based on reasonable standards. However, since schools lose revenue when a

student’s Title IV funding eligibility is suspended due to poor grades, schools have a strong

financial incentive to misrepresent students’ academic performance.




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      H.      Claims for Payment under Title IV, HEA Programs

       92.     After a school becomes eligible to receive Title IV funding by entering into a

PPA, claims for payment of those funds can be made in various ways. Under the Pell Grant

program and FDLP, for example, students submit requests for funding directly to the Department

of Education, or to the Department of Education with the assistance of schools. Under FFELP,

students and schools jointly submitted requests to private lenders for loans that were guaranteed

by state agencies that were, in turn, insured by the Department of Education, which paid in the

event of a default.

       93.     With respect to all Title IV, HEA programs, the disbursement of Title IV funding

depends on a school’s statements and certifications of eligibility that are necessary for requests

for payment to be considered.

       94.     For all Title IV, HEA programs, students who are interested in receiving federal

student aid must complete a “Free Application for Federal Student Aid,” known as a “FAFSA.”

                                   Title IV Grant Programs

       95.     Under the Pell Grant program, which provides federal funds to assist

postsecondary school students with demonstrated financial need, 20 U.S.C. § 1070a; 34 C.F.R. §

690.1, the student initiates the process by submitting a FAFSA to the Department of Education to

have her expected family contribution (“EFC”) calculated in order to receive an accurate amount

of Pell Grant program funds. 34 C.F.R. § 690.12(a). The student either sends the FAFSA

directly to the Department of Education or provides it to a school for the school to transmit it to

the Department of Education on the student’s behalf. 34 C.F.R. § 690.12(b).

       96.     The Department of Education sends the student’s application information and

EFC to the student on a Student Aid Report (“SAR”) and sends each school the student has




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designated an Institutional Student Information Record (“ISIR”) for that student. 34 C.F.R.

§ 690.13.

        97.    The school uses the above-described information, including the EFC, to calculate

the student’s eligibility for all aid and to assemble a “financial aid award package” for the

student borrower. The financial aid package may include Pell Grants, FDLP loans, or Campus-

Based Aid (which in turn includes Federal Supplemental Educational Opportunity Grants,

Federal Work-Study, and Federal Perkins Loans), as well as other scholarships or aid for which

the student may be eligible.

        98.    The student can accept all or part of the financial aid award package.

        99.    If the student accepts a Pell Grant, an FDLP loan (for which the Department of

Education is both lender and guarantor), or both a Pell Grant and a FDLP loan, the school creates

an electronic “origination” record that the school submits to a Department of Education

computerized database called the Common Origination and Disbursement (“COD”) system. The

origination record includes student demographic data, the award or payment period, the award

amount, and disbursement dates and amounts. The COD database, in turn, links the information

in the origination record to another Department of Education database, called CPS, which

compares the information in the origination record to the information on the student’s SAR and

ISIR.

        100.   Provided that the information submitted by the school is consistent with the

information possessed by the Department of Education, the Department of Education makes

funds available for the school to electronically draw down from a computerized system known as

“G5.”




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       101.    Schools must electronically certify in G5 prior to drawing down the funds that

“by processing this payment request . . . the funds are being expended within three business days

of receipt for the purpose and condition[s] of the [Program Participation] agreement.” (See

Example of G5 Certification, attached hereto as Exhibit 4.)

       102.    In addition to the Pell Grants themselves, the Department of Education also pays

to the school an annual administrative cost allowance of $5.00 for each student who receives a

Pell Grant, to be used to pay the costs of administering the Pell Grant and other Title IV, HEA

federal student aid programs. 20 U.S.C. § 1096; 34 C.F.R. § 690.10.

                               FDLP and FFELP Loan Programs

       103.    The FDLP, through which the Department of Education makes loans directly to

eligible students and parents, “enables an eligible student or parent to obtain a loan to pay for the

student’s cost of attendance at [an eligible] school.” 34 C.F.R. § 685.101(a)(1).

       104.    Under the FFELP, which included subsidized and unsubsidized Stafford Loans,

private “lenders use their own funds to make loans to enable a student or his or her parents to pay

the costs of the student’s attendance at postsecondary schools.” 34 C.F.R. § 682.100(a). “[A]

guaranty agency guarantees [the private] lender against losses due to default by the borrower on

a FFEL loan,” and “the guaranty agency is reimbursed by the [Department of Education] for all

or part of the amount of default claims it pays to lenders.” 34 C.F.R. § 682.100(b)(1). In this

way, the government is ultimately called upon to satisfy claims for payment.

       105.    No new loans were made under FFELP after July 1, 2010. See Health Care and

Education Reconciliation Act of 2010 (P.L. 111-152).

       106.    Like the Pell Grant program, students seeking to obtain a FDLP or FFELP loan

begin by completing and submitting a FAFSA. 34 C.F.R. § 685.201(a); 34 C.F.R. § 682.102(a).




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       107.    In order to participate in the FDLP and FFELP, as opposed to a grant program, a

student also completes a Master Promissory Note (“MPN”) and submits the MPN to the

educational institution. 34 C.F.R. § 685.201; 34 C.F.R. § 682.102.

       108.    Parents may also borrow money through the FDLP and FFELP, in the form of a

Parent PLUS loan, to help pay tuition and other related costs of education for their children. 34

C.F.R. § 685.200(c); 34 C.F.R. § 682.102(c). A parent borrower commences the loan process by

completing and submitting a Direct PLUS MPN for a Parent Direct PLUS loan, 34 C.F.R.

§ 685.201(b), or an application for a PLUS loan under FFELP, 34 C.F.R. § 682.102(c).

       109.    For student loans, schools participating in the FDLP must at a minimum create a

loan origination record and ensure that the loan is supported by a completed MPN. 34 C.F.R.

§ 685.201(a)(2)(i), (ii). For parent direct loans, a participating school must complete and submit

its portion of the PLUS MPN. 34 C.F.R. § 685.201(b)(3).

       110.    A school participating in the FDLP or FFELP must determine and certify that the

student is eligible to receive the loan and must provide information regarding student eligibility

to the Department of Education. 34 C.F.R. § 685.301(a)(1), (2); 34 C.F.R. § 682.102(a); 34

C.F.R. § 682.603(a). Among other requirements, to be eligible to receive proceeds from a FDLP

or FFELP loan, a student must be enrolled, or accepted for enrollment, at a school eligible to

receive Title IV funding. 34 C.F.R. § 685.301(a)(2)(i); 34 C.F.R. § 685.200(a)(1)(ii); 34 C.F.R.

§ 668.32(a)(1)(i); 34 C.F.R. § 682.201(a); 34 C.F.R. § 682.603(a).

       111.    As described above, for a school to be eligible to participate in Title IV, HEA

programs, thereby making students attending the school eligible for FDLP and FFELP loans, a

school must comply with the Incentive Compensation Ban. By certifying that any student is




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eligible to receive a FDLP or FFELP loan, the school is certifying its own eligibility to

participate in the programs, including its compliance with the Incentive Compensation Ban.

       112.    Additionally, for a student to be eligible to receive a FDLP or FFELP loan, the

school, as well as the specific program of study, must be accredited by the appropriate

accrediting agency. 20 U.S.C. § 1094(a)(21); Department of Education, Direct Loans School

Guide, at 1-3, available at http://www.direct.ed.gov/pubs/schoolguide.html.

       113.    As described above, a school participating in the FDLP also determines the

amount of each type of FDLP loan (subsidized or unsubsidized), as well as other types of

financial aid, that the student is eligible to receive based on information provided by the student

in the FAFSA and from other available sources. 34 C.F.R. § § 685.301(4), (5). The school

submits this information to the COD system.

       114.    Schools must verify that a student remains eligible to receive FDLP and FFELP

loan proceeds at the time of disbursement. Direct Loans School Guide at 5-66; Department of

Education, Federal Student Aid Handbook at 3-135 (2010-11).

       115.    Schools receive the proceeds of FDLP loans for disbursement through the G5

system. As described above, schools must electronically certify in G5 prior to drawing down the

funds that “by processing this payment request . . . the funds are being expended within three

business days of receipt for the purpose and condition[s] of the [Program Participation]

agreement.” (G5 Certification, Exhibit 4 hereto.)

       116.    Under FFELP, the school submits the MPN to the lender. Upon approval by the

lender, the lender obtains a loan guarantee from a guarantee agency. 34 C.F.R. § 682.102. The

loan is made in reliance upon the accuracy of the information provided by the school.




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       117.    The lender transfers the FFELP funds directly into the school’s account. Upon

receiving the FFELP funds, the school credits a student’s account at the school for education-

related expenses, such as tuition, fees, books, and supplies.

       118.    For subsidized Stafford loans, the government pays the interest on the student’s

behalf during the time the student is enrolled in school on at least a half-time basis, and during

the student’s grace period before repayment commences. 34 C.F.R. § 682.102(d)(2).

       119.    In the event of default on a FFELP loan, the Department of Education pays to the

guarantee agency all or part of the unpaid principal and accrued interest, as well as a variety of

administrative costs. 34 C.F.R. § 682.404.

VI.    FACTUAL ALLEGATIONS

       120.    Defendant Schools knowingly made false statements, certifications, and claims

regarding compliance with the Incentive Compensation Ban in order to become and remain

eligible to receive Title IV funding. Defendant Schools’ statements were false when made, and

caused the Department of Education to pay various claims under Title IV, HEA programs that

Defendant Schools were not eligible to receive.

       121.    SHC knowingly made false statements, certifications, and claims regarding

compliance with the Accreditation Requirement in order to become and remain eligible to

receive Title IV funding. SHC’s statements were false when made, and caused the Department

of Education to pay various claims under Title IV, HEA programs that SHC was not eligible to

receive. Additionally, SHC knowingly made false statements and certifications to its accrediting

agency in order to induce and cause the accrediting agency to accredit SHC even though SHC

did (and does) not comply with the relevant accrediting standards.




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       A.         Defendant Schools’ Submission of Program Participation Agreements to the
                  Department of Education.

        122.      Defendant Schools sign and submit PPAs to the Department of Education in order

to become eligible to participate in Title IV, HEA programs. On information and belief, all

Defendant Schools are currently operating under approved PPAs and have been since at least

January 1, 2002.

        123.      In each PPA, each Defendant School certifies that “[i]t will comply with all

statutory provisions of or applicable to Title IV of the HEA, all applicable regulatory provisions

prescribed under that statutory authority, and all applicable special arrangements, agreements,

and limitations entered into under the authority of statutes applicable to Title IV of the HEA.”

        124.      In each PPA, each Defendant School further certifies that “[i]t will not provide,

nor contract with any entity that provides, any commission, bonus, or other incentive payment

based directly or indirectly on success in securing enrollments or financial aid to any persons or

entities engaged in any student recruiting or admission activities or in making decisions

regarding the awarding of student financial assistance.”

        125.      In their PPAs, Defendant Schools also certify that they “will meet the

requirements established” by a “nationally recognized accrediting agenc[y].”

        126.      In addition to the certifications they make in the PPAs, Defendant Schools also

make, or cause to be made, additional certifications as part of their annual compliance audits and

as part of the student financial aid process, including but not limited to Required Management

Assertions, G5 Certifications, Master Promissory Notes, and their accompanying school

certifications.




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        127.       Defendant Schools submitted and continue to submit a variety of claims to the

government for Title IV funding that they know to be false based upon their non-compliance

with the Incentive Compensation Ban.

        128.       SHC submitted and continues to submit a variety of claims to the government for

Title IV funding that it knows to be false based upon its submission of false information and

certifications to its accrediting agency for the purpose of obtaining an accreditation for which it

is not eligible.

       B.      Title IV Funding Received by Defendant Schools.

        129.       According to information available from the Department of Education, Defendant

Schools have received more than $660 million in Title IV funding since the 2002-2003 academic

award year.        This figure includes amounts received under FDLP, FFELP, and Pell Grant

program, as well as smaller amounts received pursuant to Academic Competitiveness and

National SMART Grant programs and campus-based financial aid (Federal Work Study, Perkins

Loans, Federal Supplemental Educational Opportunity Grants).

        130.       For example, during the 2009-2010 award year, which ran from July 1, 2009 to

June 30, 2010, Defendant Schools received over $127 million in Title IV funding.

        131.       During the 2010-2011 award year, Defendant Schools received over $139 million

in Title IV funding.

        132.       Defendant Schools receive a large portion of their total revenues from Title IV,

HEA programs.          For example, in 2009-2010, the percentage of Defendant Schools’ total

revenues derived from Title IV, HEA programs were as follows: Defendant SHC: 77%;

Defendant CAA: 85.5%; Defendant CAD: 82.8%; and Defendant CCSD: 79.3%.                         See

Department of Education, Proprietary School 90/10 Revenue Percentages from Financial




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Statements with Fiscal Year Ending Dates Between 7/1/2009 and 6/30/2010, available at

http://studentaid.ed.gov/about/data-center/school/proprietary.

       133.    In 2010-2011, the percentage of Defendant Schools’ total revenues derived from

Title IV, HEA programs were as follows: Defendant SHC: 80%; Defendant CAA: 85.1%;

Defendant CAD: 81.4%; and Defendant CCSD: 69.3%.                    See Department of Education,

Proprietary School 90/10 Revenue Percentages from Financial Statements with Fiscal Year

Ending Dates Between 7/1/2010 and 6/30/2011, available at http://studentaid.ed.gov/about/data-

center/school/proprietary.

      C.      Defendant Schools’ Violations of the Incentive Compensation Ban.

       134.    Throughout their employment with SHC, SHC paid Ms. Brooks and Ms. Wride

incentive compensation that violated the Incentive Compensation Ban. On information and

belief, SHC and the other Defendant Schools have paid incentive compensation to ACs that

violates the Incentive Compensation Ban since at least July 1, 2002, and SHC and the other

Defendant Schools have continued to pay incentive compensation to ACs that violates the

Incentive Compensation Ban up to the present time.

       135.    Defendant Schools deliberately cultivated a corporate culture that prizes and

rewards enrollment of students above all else. This “boiler room” style sales culture has made

recruiting and enrolling students the sole focus of ACs and others involved in the recruitment

and enrollment processes, including FAOs.

       136.    Through       their   compensation    system   and    compensation   practices,   the

representations and certifications they make to the federal government in their PPAs, in

connection with annual compliance audits, and in other documents, Defendant Schools

knowingly violated and continue to violate Title IV of the HEA’s Incentive Compensation Ban,

as well as its accompanying and implementing regulations.


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                                    Admissions Consultants

       137.    An AC’s primary objective at Defendant Schools is to “enroll students.”

(Defendant School’s Admissions Consultant Manual at 21 (emphasis in original) (“Manual”),

attached hereto as Exhibit 5.) (Defendant Schools provide a written policy manual to their ACs

on an annual basis. The copy of the Manual in Relators’ possession was provided to an AC on or

about September 2010 and states on the title page: “Copyright 2006, 2007, and 2008 by Carl

Barney.” Prior versions of the Manual were similar in form and content to the version attached

as Exhibit 5 to this Complaint. At the bottom of the title page of the Manual, the following

schools are identified: CollegeAmerica, CCSD [California College San Diego], Stevens-Henager

College, and Independence University.)

       138.    ACs enroll students by developing leads through various events, promotions, and

networking activities and through referrals generated by Defendant Schools’ call center and

marketing campaigns. ACs meet with these leads and referrals, usually in person, at Defendant

Schools’ campuses and attempt to persuade them to enroll as students in Defendant Schools’

programs. According to Defendant Schools, the sole “purpose” of ACs is to “motivate, enroll,

and start students.” (Id. at 22.) The Defendant Schools’ joint Manual reminds ACs that “[t]he

AC’s job is to enroll every person they possibly can” and that “no salary increases occur unless

Admissions enrolls more students.” (Id. at 15.)

       139.    ACs are the primary contact that prospective students have with Defendant

Schools during the recruitment process. The recruiting process often involves hours of personal

contact between the AC and prospective student. Typically, ACs will accompany potential

recruits to meetings with FAOs, where financial aid options are discussed.

       140.    Defendant Schools provide regular training to the ACs in various sales

techniques. For example, ACs are instructed to tell prospective students that “[f]or their tuition


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[they] get in return a quality job with much more money to help them pay for their hopes and

dreams,” and that Defendant Schools “do this in half the time of many other colleges and

universities.” (Id. at 20 (emphasis in original).)

                        Defendant Schools’ Written Compensation Policy

       141.    Defendant Schools issued frequent written statements concerning their

compensation policies, including for ACs. The revisions often related to the portions of the

Manual covering AC compensation. Many of these written policies were contradictory and

inconsistent. As will become apparent, Relators are informed and believe that Defendant

Schools’ actual compensation practices deviated from their written policies, that the written

policies were issued merely to satisfy regulators, and that the deviations from the written policies

further violated Title IV regulations and requirements.

       142.    In addition to Manuals, Defendant Schools issued various types of “directives” to

their employees, including directives to their            admissions   department     staff.   These

communications took the form of “Procedure Directives” and “Information Letters.”

       143.    In one such Procedure Directive, dated both November 15, 2007, and November

17, 2008, that Defendant SHC provided to Ms. Brooks, Defendant Schools appeared to set down

new policies for “Admissions Consultant Compensation.” (Procedure Directive at 2, attached

hereto as Exhibit 6.)

       144.    The Procedure Directive was issued by Carl Barney, as “Chairman,” to

Admissions Consultants, Directors of Admission (DoAs), and Campus Directors.

       145.    The Procedure Directive discusses the Defendant School’s “compensation plan

based upon students who complete 36 credits and are thus likely to graduate” and makes explicit

reference to Regulatory Safe Harbor E. (Procedure Directive 1-2.)




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       146.    The Procedure Directive explains that each student who completes 36 credits

entitles the AC who enrolled that student to a “Completion Certificate” if, and only if, the

completing “student ha[s] a value at completion of 36 credits as show in Appendix 1.”

(Procedure Directive 2 (emphasis in original).)

       147.    “Appendix One” to the Procedure Directive contains a chart showing “Admission

Consultant Potential Compensation.” The chart provides the “value at completion” referenced

previously.

       148.    The chart contains a range of money values—from $100 up to $600.

       149.    The first column in the chart is titled “Packaged Starts.” The lowest value shown

in the row is 5 packaged starts—there are no values for anything less than 5 starts.

       150.    The top row of the chart lists “Intconversion%.” The lowest value in the row is

“>33%”—there are no values for anything less than 33%.

       151.    Notes to the chart explain that “Intconversion%” is calculated by “[t]otal[ing] the

last three modules’ starts and interviews” and dividing the total number of starts by the total

number of interviews. The notes explain that “[w]alk-ins do count as interviews and they must be

counted.”

       152.    According to the chart in Appendix One of the Procedure Directive, which is

consistent with actual practice (as described below), before an AC could receive a bonus for a

completing student, the AC had to (1) start at least 5 students per module, and (2) convince at

least one out of every three potential students he or she met with to enroll in the school. Based on

the compensation systems set forth in the Procedure Directive, if an AC failed to meet either of

these two enrollment-related requirements, the AC was ineligible to receive a bonus, regardless

of how many students the AC was responsible for starting who completed 36 credit hours.




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       153.    At the other end of the scale, Appendix One provides great incentives for ACs to

start more students and convince greater numbers of potential students to enroll. An AC that has

an interview-to-start rate greater than 50% is eligible to receive $600 per completing student. An

AC with 20 starts and an interview-to-start rate of 50% would receive a total of $12,000.

       154.    Appendix One of the Procedure Directive also states that for “each start from

personally developed interviews, the completion certificate is valued at an additional $500.”

       155.    The Procedure Directive contains an Appendix Two, which appears to set forth

AC compensation for personally developed leads. (Appendix Two is not referenced anywhere in

the Procedure Directive.) Appendix Two contains a chart that is identical to the chart in

Appendix One, except that all of the values are higher. Under that chart, an AC must still first (1)

start at least 5 students, and (2) achieve an interview-to-start rate of 33% to be eligible for any

bonus, regardless of the number of students they started who completed 36 credit hours.

       156.    Under that chart, the values based on the number of starts and interview-to-start

rate ranged from $500 to $3,000 per student (or more).

       157.    The Procedure Directive acknowledges that the incentive compensation plan is

designed to ensure that ACs “contribute to admissions goals.” (Procedure Directive at 1.)

       158.    The Defendant Schools’ joint Manual also ostensibly sets forth the schools’

compensation policies and plan for ACs. (See Manual at 21-37, Exhibit 5.) Although much of

the text of Procedure Directive is also set forth in the Manual, the two policies are very different.

       159.    Like the Procedure Directive, the Manual acknowledges that the payment of

incentive compensation based directly or indirectly on starts is prohibited under applicable

regulations and accrediting standards. (Manual at 33.) These acknowledgements demonstrate

that Defendant Schools knew (and know) that compensation practices resulting in the payment of




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incentive compensation based directly or indirectly on enrolling (or starting) students was strictly

prohibited.

       160.    While Defendant Schools’ written compensation plan appears to implicate several

regulatory safe harbors, the precise terms of the compensation plan are less than clear. It appears

that Defendant Schools attempted to exploit this ambiguity and vagueness by implementing and

using a different compensation system than what is set forth in the Manual.

       161.    As written, the compensation plan set forth in the Manual appears to confuse and

muddle several of the regulatory safe harbors for the Incentive Compensation Ban, even though

each of the regulatory safe harbors has separate and distinct provisions and requirements. (See,

e.g., Manual at 33 (combining the elements of several regulatory safe harbors under the same

numbered item).) Although the Manual purports to refer ACs to the Manual’s appendices for

more information about the “safe harbors,” no additional information about the safe harbors is

contained in the appendices. (Id.)

       162.    The Manual states that that “ACs will receive a salary commensurate with their

experience (Appendix 1 – see attached)” and that the compensation “plan will not be adjusted

more than twice annually” (Manual at 25; see also Procedure Directive 1), in apparent reference

to Regulatory Safe Harbor A, which required, among other things, the “payment of fixed

compensation, such as a fixed annual salary . . . , as long as that compensation [wa]s not adjusted

up or down more than twice during any twelve month period,” 34 C.F.R. § 668.14(b)(22)(ii)(A)

(July 1, 2010). (Notably, however, Appendix 1 does not reveal salary information but only

shows example of “Additional Compensation” that ACs can earn under Defendant Schools’

incentive bonus program.)




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       163.     The Manual also describes an incentive bonus program, explaining that the

“Department of Education allows colleges to compensate ACs for students who successfully

complete an academic year.” (Manual at 25.) The Manual then purports to set forth Regulatory

Safe Harbor E in its entirety, although the quotation contains several errors. (Id.)

       164.     The Manual next explains Defendant Schools’ incentive bonus program: “the

college has developed a compensation plan based upon students who complete 36 credits”

(“Completion Bonus”). (Manual at 25.)

       165.     The Completion Bonus plan, like the plan stated in the Procedure Directive,

provides that

                ACs will be issued Completion Certificates (CCs – see attached)
                for each student having a value at completion of 36 credits as
                shown in Appendix 1. When a student named on a CC completes,
                the AC may redeem the CC. . . . Compensation is paid only for
                students who successfully complete 36 credits.

(Manual at 25 (emphasis in original).)

       166.     The Manual makes clear that the Completion Bonuses associated with the

“[C]ompletion [C]ertificates are not part of regular compensation.” (Manual at 28 (emphasis in

original); see also Procedure Directive at 6.)

       167.     The Manual vaguely explains that the Completion Certificates “must be earned by

meeting or exceeding each of the requirements outlined in the program” and that if the ACs “fail

to meet each of the performance criteria, . . . all Complete Certificates will become null and void

and of no value.” (Manual at 28.)

       168.     The only “requirements” and “performance criteria” relating to the Completion

Bonuses contained in the Manual provide that “ACs must be employed by the college at the time

a student completes 36 credits” and “must have provided support functions such as

corresponding on a regular basis with the student after enrollment, checking on the student’s


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progress, and helping students with any question they might have during the duration of the

program.” (Manual at 25; see also Procedure Directive at 2.) The Manual also states that ACs

must (1) complete “Interview Surveys” and (2) accurately enter information relating to inquiries,

referrals, interviews, and enrollments in Defendant Schools’ computer system in order to earn a

Completion Certificate. (Manual at 29-30.)

       169.    No other requirements for earning or redeeming Completion Certificates are

stated in the Manual.

       170.    The Manual vaguely explains Defendant Schools’ system for assigning a

monetary value for each of the bonus Completion Certificates. (Manual at 30.)

       171.    The written system for assigning a monetary value to the Completion Certificates

bases the assigned value directly on the number of students an AC has succeeded in starting (or

enrolling) at Defendant Schools. (Manual at 30.) Specifically, the Manual contains a chart that

assigns a “Completion Value” that is based on each AC’s “Avg. Starts.” (Manual at 30.)4 The

notes to the chart explain that the relevant “Average” is “the last 3 modules’ performance” in

terms of starts. (Id. (emphasis in original).) Thus, an AC with a three-module average of five (5)

starts per module5 would receive $50 for each Completion Certificate associated with a student

enrolled in a bachelor’s degree program, while an AC with a three-module average of eighteen

(18) starts would receive $700 for each Completion Certificate. If an AC failed to achieve a

minimum three-module average of five (5) starts per module, the Completion Certificate was

worth nothing.   Thus, the Manual itself shows that the “completion” bonus would not be

awarded unless an AC achieved start-related quotas that have nothing to do with the completion

4
 Note the significant differences between the chart contained in the Manual and the charts
contained in the Procedure Directive.
5
 Defendant Schools use their academic “module” as the relevant time period for measuring AC
performance. Each module is approximately one month long.


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of an academic year of study by a student.          Defendant Schools’ written policy therefore

attempted to hide impermissible incentive bonus compensation based on enrollments within an

ostensibly permissible compensation system relating to students’ completion of one academic

year of study.

       172.       If Defendant Schools actually followed the written policies stated in the

Procedure Directive or in the Manual, they would have violated the Incentive Compensation Ban

because they would have paid incentive compensation based directly on success in securing

enrollments.       Although Defendant Schools’ written policy suggested that such bonus

compensation related to students’ completion of one academic year of study, in reality the

bonuses were tied directly to enrollments—the bonuses were only paid if ACs achieved certain

start quotas. Defendant Schools’ Completion Bonus plans merely used students who completed

an academic year of study as a convenient way to hide bonuses tied to the enrollment of other

students.

       173.       As explained below, Defendant SHC did not actually pay compensation pursuant

to its written compensation plans. On information, Relators believe and allege that none of the

other Defendant Schools actually followed the written compensation plan either.

       174.       On information, Relators believe and allege that Defendant Schools’ written

compensation plan was (and is) drafted to deceive the Department of Education and Defendant

Schools’ accrediting agency concerning Defendant Schools’ compensation practices and to

provide cover for Defendant Schools’ actual compensation practices, which more obviously

violate the Incentive Compensation Ban.

                 Bonuses Paid To Admissions Consultants in Idaho and Elsewhere

       175.       Consistent with the experiences of Relators, as set forth below, the Idaho

campuses of Defendant Schools paid bonuses to ACs based on starts and/or their interview-to-


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start ratio—the “conversion rate,” which is also a measure of success in enrolling students.

Numerous ACs at Defendant Schools’ Idaho campuses, particularly the Boise and Nampa

campuses, received such bonuses over various years starting in approximately 2006, including up

through 2012.

       176.     Defendant Schools’ Idaho campuses paid the bonuses to the ACs on substantially

the same basis as Relators received them. For example, if the ACs failed to satisfy the

enrollment-related requirement, they were not paid bonuses for students who completed the

requisite number of credits, just like Relators.

       177.     During certain periods, the Director of Admissions over the Boise and Nampa,

Idaho, campuses would fill out the value of the “Completion Certificates,” described further

herein, based on starts and/or interview-to-start rate. If the AC failed to achieve the enrollment-

related requirements, the Director of Admissions would put a zero value on the Completion

Certificates. On information, Relators believe and allege that the Campus Director over the Idaho

Falls campus of Defendant Schools adopted the same AC compensation practices.

       178.     ACs at Defendant Schools’ Wyoming campus were also paid bonuses based on

the interview-to-start rate, or the conversion rate.

       179.     On information, Relators believe and allege, for the reasons set forth elsewhere in

this Second Amended Complaint, that ACs at all of Defendant Schools’ campuses were paid

bonuses based on their success in enrolling students on essentially the same basis as Relators.

       180.     On information, Relators believe and allege that some ACs at Defendant Schools’

campuses were paid as much as $50,000.00 to $60,000.00 per year in bonuses.

       181.     On information, Relators believe and allege that it was “common knowledge”

among employees at Defendant Schools’ campuses, including among the ACs, that bonuses were




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paid based on the number of starts (and similar measures of enrollment success), not based on

the quality of the potential student enrolled or whether the student actually graduated.

                    Ms. Brooks’ Experience with Incentive Compensation

       182.    Ms. Brooks began working at SHC as an AC on March 2, 2009.

       183.    Ms. Brooks was paid a base salary of $42,000 per year,6 and she was ostensibly

eligible to receive bonuses for those students that she enrolled who completed 36 credit hours

(“Potential Bonus Students”).

       184.    While Defendant SHC’s written compensation plan, described above, stated that

Ms. Brooks would receive a Completion Bonus for each and every student that Ms. Brooks

enrolled who completed 36 credit hours of study, SHC imposed three additional, unwritten

requirements on Ms. Brooks in order to receive these bonuses.

       185.    Specifically, to receive a “completion” bonus, Ms. Brooks and the other ACs had

to (1) start a total of five (5) students in the same module as the Potential Bonus Student started,

(2) achieve a three-module average of five (5) starts per module, calculated using the modules

before and after the module in which the Potential Bonus Student started, and (3) attain an

interview-to-start ratio (“conversion rate”) of at least thirty-three percent (33%) in the same

module that the Potential Bonus Student started (collectively, “the Enrollment-Related

Requirements”).

       186.    As a result, SHC’s bonus compensation system, as actually practiced and carried

out, provided incentive payments based directly and indirectly upon Ms. Brooks’ and the other

ACs’ success in securing enrollments. Therefore, SHC’s compensation system violated the ban

on the payment of incentive compensation by schools receiving Title IV funding, 20 U.S.C. §


6
  Ms. Brooks’ starting salary was $38,000 per year, which was increased to $42,000 in
September 2009.


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1094(a)(20); 34 C.F.R. § 668.14(b)(22)(i), and did not qualify under the then-existing safe-

harbor regulations, 34 C.F.R. § 668.14(b)(22)(ii) (July 1, 2010), including Regulatory Safe

Harbor A, 34 C.F.R. § 668.14(b)(22)(ii)(A) (July 1, 2010), and Regulatory Safe Harbor E, 34

C.F.R. § 668.14(b)(22)(ii)(E) (July 1, 2010).

       187.    Jesse Hafen, the Director of Admissions at Defendant SHC’s Orem campus, told

Ms. Brooks when she began working as an AC that she had to meet the three Enrollment-Related

Requirements in order to receive a single “completion” bonus. Mr. Hafen and his assistant

applied these Enrollment-Related Requirements when determining Ms. Brooks’ eligibility for

bonuses. Mr. Hafen was Ms. Brooks’ direct supervisor during her entire tenure at SHC.

       188.    Ms. Brooks was aware from the statements of Mr. Hafen and others that she

would not receive any “completion” bonuses for her Potential Bonus Students unless she met the

three Enrollment-Related Requirements in every module.

       189.    Ms. Brooks recalls that the version of the Manual that she received when she first

started working for Defendant SHC in March 2009 included a chart that showed how Defendant

SHC determined ACs’ bonuses. That chart associated particular bonus awards with an AC’s

number of starts and three-module average number of starts. In mid- to late-2009, Defendant

SHC demanded that all ACs surrender all copies of the Manual to management. Defendant SHC

then issued a revised version of the Manual that omitted the chart directly connecting starts to

bonuses. The new version of the Manual that Ms. Brooks and the other ACs received had been

scrubbed of all references connecting start-related performance measures to bonuses. Even

though the Manual omitted such terms and conditions, in practice, Defendant SHC continued to

use starts and other start-related measures to determine ACs’ bonuses.




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          190.   Ms. Brooks was a top performing AC at SHC’s Orem campus. Ms. Brooks

received significant bonus payments, which SHC paid to Ms. Brooks monthly as they were

earned.     Because the bonus payments fluctuated from month to month, Ms. Brooks’ total

monthly compensation also changed from month to month.

          191.   SHC denied Ms. Brooks bonuses for numerous Potential Bonus Students who

satisfied the credit-hour requirement due to her failure to achieve the Enrollment-Related

Requirements. For example, SHC denied Ms. Brooks “completion” bonuses for Potential Bonus

Students who started in December 2009 because she had an interview-to-start conversion ratio of

thirty-two percent (32%), which was 1% below SHC’s required minimum of thirty-three percent

(33%). In another case, SHC denied Ms. Brooks “completion” bonuses because she only had

three (3) starts in March 2010, below SHC’s required quota of five (5) starts. If Ms. Brooks had

successfully enrolled and started more students during the months in question, she would have

been paid bonuses for all of the Potential Bonus Students who had started those months. As

such, SHC’s bonus system, as actually practiced and implemented, was structured to maximize

the ACs’ enrollment of students. Because of the way SHC structured the bonus system, the

single greatest factor that determined whether an AC would receive a bonus was the number of

students the AC enrolled and started. All other factors were relatively inconsequential, including

whether any given student completed the required number of credit hours.

          192.   SHC paid Ms. Brooks numerous bonuses for meeting the Enrollment-Related

Requirements. Ms. Brooks’ bonuses ranged from $300 to $1100 per student. The amount of the

bonus Ms. Brooks received depended on two factors: (1) her conversion rate for the module in

question—the higher the conversion rate, the larger the bonus—which is itself an indirect

measurement of enrollment (interviews divided by starts), and (2) whether Ms. Brooks




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personally generated the potential student lead on her own, for which she was paid more than if

she received it from another source, such as the call center.

       193.    The bonuses that Ms. Brooks received for meeting the Enrollment-Related

Requirements were substantial. Often, the monthly bonus payments equaled or exceeded Ms.

Brooks’ base salary. For example, on her check from the pay period December 1 through

December 15, 2010, Ms. Brooks’ year-to-date wages were $31,618.50 (net of taxes and

withholdings) while her year-to-date bonuses were $31,450.00.

       194.    Thus, the bonuses provided a significant incentive to Ms. Brooks and the other

ACs to meet the Enrollment-Related Requirements by enrolling and starting more students. On

information, Relators believe and allege that Ms. Brooks’ experiences with the bonus

compensation system were typical of other ACs working for Defendant SHC and Defendant

Schools generally.

       195.    Defendant SHC’s management communicated start quotas for each module to

each of the campuses, and on information, Relators believe and allege that administrative

officials, including but not limited to Mr. Hafen, were promised and paid incentives for meeting

the start quotas. On information, Relators believe and allege that the same practices occurred at

the other Defendant Schools.

       196.    On at least three occasions, Ms. Brooks personally received a bonus because the

Orem campus, where she worked, met its overall start goal for the module. These incentive

compensation payments violated the Incentive Compensation Ban and do not even potentially

qualify for a safe harbor.

       197.    Similarly, SHC and its administrative officials provided each AC with a personal

start goal for each module. On information, Relators believe and allege that the individual start




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goals were tailored to each AC in such a way that the goals always pushed the AC to enroll and

start more students. For example, if an AC routinely started 5 students in a module, SHC would

set that AC’s goal as 7 starts; if an AC routinely started 7 students in a module, SHC would set

that AC’s goal as 9 starts. ACs were always expected to enroll and start more students.

       198.    To further incentivize ACs to meet their start quotas, Mr. Hafen would

periodically offer prizes to the ACs for achieving certain numbers of enrollment or starts (“non-

‘completion’ bonuses”). Mr. Hafen would award these prizes through contests that were based

on enrolling or starting new students at SHC. The prizes usually consisted of cash payments or

expensive consumer electronics products. Mr. Hafen would offer and pay these incentives at

least monthly, if not more frequently.

       199.    As an example of one of these “contests,” in or about March 2010, Mr. Hafen

communicated to the ACs at SHC, including Ms. Brooks, that any AC that met his or her

individual goal on the start list would receive an extra $250 on their paycheck. Further, Mr.

Hafen communicated to the ACs at SHC’s Orem campus that any AC that met his or her

individual goal on the start list would be eligible for a drawing for a 32” flat screen television.

       200.    On other occasions, Mr. Hafen ran similar contests where he gave Ipods as prizes.

Ms. Brooks, among other ACs, received an Ipod for achieving her start goals.

       201.    In addition and on many occasions, Mr. Hafen gave free movie tickets to ACs

who met certain goals relating to enrollments, including best interview-to-start conversion rates

or highest starts or enrollments, despite the fact that he knew that such bonuses are strictly

prohibited under federal law. Ms. Brooks, as well as other ACs, were given free movie tickets

for achieving the specified start goals.




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       202.    Additionally, Mr. Hafen would from time to time provide cash incentives, such as

a $20 bill, to the first AC so set up a certain number of interviews on a particular day or to the

first AC to reach a certain number of enrollments on a particular day.

       203.    Mr. Hafen also ran a contest where the incentive to the ACs for attaining a certain

number of starts and a certain conversion rate was a night’s stay at a resort in Park City, Utah.

Mr. Hafen awarded this prize to another AC.

       204.    Ken Plant, the Executive Director of SHC’s Orem campus, and Dr. Stephen Babb,

the Dean of Education at the campus, openly referred to the admissions department as the

“cesspool” because of the cut-throat competition that existed between the ACs over the

enrollment-related contests.

       205.    Ms. Brooks is also aware that SHC’s Orem campus paid bonuses to its FAOs for

obtaining financial aid for prospective students. On information, Relators also believe and allege

that the FAOs at Defendant Schools’ Wyoming campus received large bonuses for completing

financial aid award files for students. Such bonuses also violate the Incentive Compensation

Ban. See 20 U.S.C. § 1094(a)(20) (banning incentive compensation for securing financial aid);

34 C.F.R. § 668.14(b)(22)(i) (same). On information, Relators believe and allege that such

compensation practices occurred at other SHC campuses and at other Defendant Schools.

       206.    The Department of Education was scheduled to audit SHC’s Orem campus, where

Ms. Brooks worked as an AC, in approximately March 2011. Prior to the Department of

Education’s audit, Barbara Thomas, SHC’s Chief Operations Officer, “coached” Ms. Brooks and

the other ACs to provide acceptable responses to questions concerning SHC’s enrollment

practices. For example, Ms. Thomas made sure that the ACs were prepared to answer “No” to

the question: “Are you pressured to enroll or start prospective students in any way?” Several




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times a year, all ACs, FAOs, and directors of admission who work for SHC and the other

Defendant Schools gather at a convention in Las Vegas, Nevada, to discuss tactics to boost

enrollment, among other topics.

       207.    Ms. Brooks attended several Las Vegas conferences in 2009 and 2010. At these

conferences, she met ACs and FAOs from SHC’s other campuses, as well as from the campuses

of the other Defendant Schools. At these conferences, SHC and the other Defendant Schools

would distribute written policy manuals to their ACs.

       208.    At these approximately quarterly conferences, upper-level management of

Defendant Schools specifically reminded ACs from all Defendant Schools about the

requirements for earning bonuses, including the Enrollment-Related Requirements.               All

Defendant Schools used the Enrollment-Related Requirements to determine whether ACs were

eligible for bonuses.

       209.    During the conferences, Defendant Schools conveyed a clear message that

enrolling students was the most important measure of success for ACs. One of the most

important awards given out during the Las Vegas conferences is the “rock” trophy, which is

awarded to the campus with the highest three-month average conversion rate. This award

contributes to a corporate culture that prizes any enrollments or starts, regardless of whether the

students who are enrolled are capable of completing the academic program or can benefit from

the education offered by Defendant Schools.

       210.    Other awards given out to ACs during the Las Vegas conferences are for the most

enrollments or starts by an individual AC and the highest interview-to-enrollment conversion

ratio by an AC.     These awards also contribute to a corporate culture that (1) prizes any

enrollments or starts, whether those enrollments or starts are by qualified students who can




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benefit from the education offered by Defendant Schools; and (2) prizes an AC’s ability to

convert a potential student into a tuition-paying student, whether or not the potential student is

qualified or can benefit from the education offered by Defendant Schools.

         211.   Periodically, the top performing ACs (and their directors) from the various

campuses of Defendant Schools are provided an all-expenses-paid vacation to San Diego for

“elite” training. Defendant Schools measure performance for this incentive bonus based on

conversion rates, which is a measure of starts. ACs are continually competing for these top

positions. When ACs failed to enroll enough students to qualify for this benefit, it would

motivate them to enroll more students in subsequent periods so they could qualify for the later

trips.

         212.   Relevant to Ms. Wride’s experiences, set forth below, several SHC faculty

members and other employees admitted to Ms. Brooks that many of SHC’s faculty members did

not meet the qualification requirements of the accrediting standards.

         213.   In approximately March 2011, Ms. Brooks resigned her employment with SHC

after SHC was unable accommodate her with a flexible work schedule, which she needed in

order to care for her two children.

                    Ms. Wride’s Experience With Incentive Compensation

         214.   Ms. Wride was hired on or about July 10, 2009, by David Sambrano, Dean of the

Graduate School for SHC’s Orem campus, as an AC for the graduate school and as an executive

assistant to Mr. Sambrano.

         215.   At the time she was hired, Ms. Wride was also a student at SHC, having enrolled

on or about February 25, 2009, in SHC’s respiratory therapy program.




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         216.   When SHC hired Ms. Wride, Mr. Sambrano and Mr. Hafen told her that she

would receive a bonus for each student that she enrolled in the graduate school who completed

fifteen (15) credit hours of coursework.

         217.   Because there were not enough prospects for the graduate school, Ms. Wride soon

began recruiting students for SHC’s undergraduate programs as well.

         218.   At the time, Mr. Hafen told Ms. Wride that she would also receive a bonus for

each student that she enrolled in SHC’s undergraduate-level programs who completed thirty-six

(36) credit hours.

         219.   Ms. Wride was successful in enrolling students in both SHC’s graduate and

undergraduate schools.     Consistent with the statements of SHC’s management concerning

bonuses, Ms. Wride carefully tracked the credit-hour progress of the students that she enrolled.

         220.   After the first group of the students that Ms. Wride enrolled into SHC’s

undergraduate programs completed thirty-six (36) credit hours in approximately summer 2010,

Ms. Wride went to Mr. Hafen to request her bonuses. Ms. Wride took the transcripts for the

relevant students to Mr. Hafen to demonstrate that the students completed the requisite credit

hours.

         221.   Mr. Hafen filled out a “Certificate of Completion” on behalf of Ms. Wride and

Ms. Wride signed the Certificate, thereby officially requesting “completion” bonuses.

         222.   Mr. Hafen then took the information to Ken Plant, Executive Director of the

Orem Campus of SHC and regional director of SHC’s southern region.

         223.   About a week later, Mr. Hafen told Ms. Wride that she would receive bonuses for

some, but not all, of the students that she enrolled. When she asked Mr. Hafen why she was not




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receiving bonuses for all of the students she enrolled, Mr. Hafen told her she had to discuss the

matter with Mr. Plant.

       224.    Ms. Wride went to Mr. Plant to discuss the issue and asked why she was not

receiving bonuses for all of the students that she enrolled, as she was promised.

       225.    Mr. Plant told her that she was not eligible to receive the “completion” bonuses

because she had not met all the requirements to receive them. Mr. Plant informed her that there

were other Enrollment-Related Requirements for receiving bonuses that applied to all of the

other ACs and that she also had to meet those requirements in order to receive a bonus.

       226.    Specifically, Mr. Plant told Ms. Wride that she was not eligible for bonuses on the

other students because she had not met the required number of starts. Mr. Plant told Ms. Wride

that the reason she did not receive a bonus for the some of the students she enrolled who

completed the required number of credit hours is because she “didn’t meet the starts that

everybody else has to meet” and failed to meet the three-module start average requirement that

applied to all other ACs’ bonuses.

       227.    Mr. Plant referred Ms. Wride back to Mr. Hafen to discuss the Enrollment-

Related Requirements in detail.       Mr. Hafen told Ms. Wride that in order to receive a

“completion” bonus, she also had to achieve a certain number of starts in the same module as the

Potential Bonus Student started. Specifically, Mr. Hafen told Ms. Wride that she had to start at

least six (6) students per module in order to qualify for the bonus. In addition, Mr. Hafen told

Ms. Wride that she also had to have a three-module average of six (6) starts. Mr. Hafen told Ms.

Wride that she had to achieve these other requirements during the same module as the Potential

Bonus Student had started. (Ms. Wride believes that SHC did not impose the conversion-rate

requirement on her because she was not a full-time AC and split her time as an administrative




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assistant. Because Ms. Wride did not have regular “interviews” with potential students, like the

other ACs, SHC could not compute a conversion rate for her.)

       228.    This same process—in which Ms. Wride would demonstrate that students she

enrolled had completed the required number of credit hours to Mr. Hafen, and Mr. Hafen would

confer with Mr. Plant about whether Ms. Wride met the other Enrollment-Related

Requirements—continued for several months.

       229.    Ms. Wride did receive bonus payments when she met the Enrollment-Related

Requirements, which SHC paid her monthly as they were earned. Because the bonus payments

fluctuated from month to month, Ms. Wride’s total monthly compensation also changed from

month to month.

       230.    Over the course of her employment with SHC, Ms. Wride received four (4) or

five (5) bonus payments, each totaling from $1,200 to $4,000. Because Ms. Wride’s base salary

was approximately $33,000 per year when she started (which SHC later increased to $37,000 per

year), the bonus payments she received were large relative to her base salary. Occasionally, the

bonus payments exceeded Ms. Wride’s base monthly salary.

       231.    Ms. Wride received these “completion” bonuses only because she met the

Enrollment-Related Requirements of six (6) total starts in the same module that the Potential

Bonus Student started, as well as a three-module average of six (6) starts.

       232.    Ms. Wride is aware that SHC paid bonuses on a similar basis to the other ACs.

       233.    Additionally, several ACs also served as FAOs when needed. Ms. Wride is aware

that FAOs were paid large bonuses based on the number of students “pushed through” the

financial aid system. Such bonuses violate the Incentive Compensation Ban.




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       234.    Ms. Wride is also aware of the non-“completion” bonuses offered to ACs to

motivate them to enroll students. On at least a monthly basis, Mr. Hafen would offer bonuses to

ACs for attaining certain enrollment-related goals, such as best interview-to-start conversion

rate, the first AC to achieve a certain number of enrollments in a given time period, or for the

most number of starts or enrollments in a certain period of time, despite the fact that he knew

that such bonuses are strictly prohibited under federal law. Mr. Hafen was constantly trying to

find prizes for his bonus contests. These bonuses usually took the form of cash payments or

expensive consumer electronics products, such as Ipods. On one occasion, Mr. Hafen raffled a

big-screen television as the prize. ACs were only eligible to participate in the raffle if they

attained certain enrollment objectives.

       235.    On many occasions, Mr. Hafen gave free movie tickets to ACs who met certain

goals, including best interview-to-enrollment conversion rates or the most starts or enrollments.

       236.    Mr. Hafen told the ACs not to tell anyone about these bonuses because he

admitted that he could get in trouble for them.

       237.    Ms. Wride also attended many of the Las Vegas conferences in 2009 and 2010,

where Defendant Schools emphasized that enrolling students was the most important measure of

success for ACs, regardless of whether the students who were enrolled were capable of

completing the academic program or could benefit from the education.

                         Defendant Schools Closely Track ACs’ Starts

       238.    Defendant Schools closely monitor and track the starts of each AC on a daily,

weekly, and annual basis. Each AC’s enrollment activity was (and is) included in “Daily

Admissions Reports” and monthly “Admissions Performance Reports,” which, on information

and belief, were (and are) distributed to the ACs of Defendant Schools. Because these reports

list the performance of other ACs, ACs are invited to compare the number of students they


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enrolled with the numbers achieved by other ACs and to compete to enroll the most students.

Those ACs who enrolled the most students received special recognition and valuable rewards.

       239.    Defendant Schools emphasize the importance of enrollments and starts to the ACs

by providing these performance reports to ACs on a regular basis. For example, each day,

Defendant SHC provided a Daily Admissions Report to each of its ACs. This report showed the

number of starts that each AC at each of Defendant Schools had obtained during the module and

invited ACs to compare their starts against other ACs. On information, Relators allege and

believe that all Defendant Schools provide the Daily Admissions Reports to all ACs on a daily

basis to foster competition among the ACs over the number of the starts they generate.

       240.    Defendant Schools identify three “Top Achievers” across all Defendant Schools

on the Admissions Performance Reports that are circulated to each AC at each Defendant School

after each module. The “Top Achievers” identified on these reports are selected based on the

number of starts generated during the module in question.

       241.    The Procedure Directive mentions that a “Company-wide Top Achievers report,”

which “ranks the results of all currently employed Admissions Consultants and enrolling

Directors of Admission,” is distributed to all Campus Directors and Directors of Admission.

(Procedure Directive at 5, Exhibit 6.)

               Enrollment-Related Bonuses Paid to Supervisors and Managers

       242.    In addition to bonuses paid to ACs and FAOs, Defendant Schools also paid

bonuses to Campus Directors, Deans, Assistant Deans, and Directors of Admission for achieving

certain enrollment-related quotas or goals. For example, Campus Directors were paid bonuses on

a quarterly basis according to “Bonus Plans” issued by Defendant Schools. Campus Directors

were allowed to allocate possible bonus money in their Bonus Plans to several performance

criteria set by Defendant Schools. The criteria included in the Bonus Plans included the


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following enrollment-related categories: interview conversion (interview-to-start ratio),

retention, and upgrades. The “Upgrade” category referred to the number of students the campus

convinced to enroll in a more advanced degree. For example, turning an associate’s degree

student into a bachelor’s degree student was considered an “upgrade.” All three of these criteria

are a direct or indirect measure of success in enrolling students, and the Incentive Compensation

Ban prohibits the payment of any type of bonus relating to such measures.

       243.   Campus Directors, including the former Campus Director at the Wyoming

campus of Defendant Schools, received bonuses for successfully achieving benchmarks that

were directly and indirectly tied to enrolling students. On information, Realtors believe and

allege that the Campus Directors over the Boise and Nampa campuses in Idaho and over the

Phoenix campus in Arizona also received bonuses based on the interview conversion rate of their

recruiters. These bonuses did not even ostensibly qualify for any regulatory safe harbor and

violated the Incentive Compensation Ban.

       244.   On information, Deans and Assistant Deans were also paid based on Bonus Plans

that included criteria tied to enrollments—specifically retention and upgrades. These bonuses did

not even ostensibly qualify for any regulatory safe harbor and violated the Incentive

Compensation Ban.

       245.   On information, Relators believe and allege that Defendant Schools paid bonuses

to Directors of Admission for achieving certain enrollment-related quotas or goals. These

bonuses did not even ostensibly qualify for any regulatory safe harbor and violated the Incentive

Compensation Ban.

                    The Effects of Defendant Schools’ Unlawful Practices

       246.   Defendant Schools’ incentive compensation practices and emphasis on

enrollments, regardless of a student’s ability to benefit from the education, resulted in ACs


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enrolling students who were incapable of benefitting from SHC’s educational programs. For

example, Ms. Brooks and Ms. Wride observed other ACs enrolling students with severe

cognitive disabilities, as well as others with severe mental disabilities. One such student spent

class time talking to inanimate objects. Relators are also aware that at least one AC affirmatively

recruited “students” from known homeless populations, persuading them to enroll by telling

them that taking classes would give them a warm place to go during poor weather.

       247.    On information, Relators believe and allege that at certain times relevant to this

Second Amended Complaint, some of Defendant Schools’ Idaho ACs specifically targeted their

recruiting efforts at single mothers at government assisted daycare facilities and visitors to

payday lending and government assistance offices. These recruiting techniques were authorized

by Jesse Hafen when he was acting as Regional Director.

       248.    On information, Relators believe and allege that the Idaho campuses of Defendant

Schools enrolled homeless students, including students who lived in vehicles outside of the

campus, so that certain ACs would hit their start quotas to be eligible for bonuses. On

information, Relators believe and allege that Defendant Schools’ Salt Lake City/Murray campus

enrolled students who were obviously homeless.

       249.    When ACs did not receive bonuses for failing to achieve the enrollment-related

requirements, they would focus on achieving those numbers in subsequent periods. The bonus

structure motivated ACs to focus on starts and, particularly, starting every prospect.

       250.    The incentives to enroll students caused ACs to misrepresent facts to potential

students. On information, Relators believe and allege that it was a common practice among ACs

at Defendant Schools’ Salt Lake City/Murray campus to recruit students into the Medical

Specialties program by telling the students they could upgrade to the nursing program at the




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Schools’ Ogden campus. However, only a very small percentage of graduates from the Medical

Specialties program were accepted into the nursing program—a fact that was hidden from the

prospective students.

       251.    This is just one example of the misleading information that ACs used to recruit

students to enroll for the purpose of obtaining bonuses. Indeed, Defendant Schools have been

found to have engaged in misleading advertising by the Board of the Colorado Department of

Private Occupational Schools. In 2012, the Board determined that Defendant Schools’ Colorado

campuses had used “student aid as an inducement to enroll in violation of the deceptive sales and

trade provision[s]” of Colorado law.

       252.    Similarly, Defendant Schools’ incentive compensation practices, which motivate

ACs to use high-pressure sales tactics, resulted in ACs unduly influencing and persuading

prospective students with serious misgivings about enrolling in school and assuming significant

debt to pay for school to enroll in Defendant Schools. For example, although many prospective

students who “interviewed” at Defendant SHC’s Orem campus expressed a desire to enroll in

academic programs that Defendant SHC’s Orem campus did not offer, ACs at the Orem campus

were instructed to convince the prospective students that they should study one of the four

programs that the Orem campus offered. Defendant Schools’ pressured enrollment of students

has resulted in numerous students dropping out of the programs and defaulting on loans provided

under the Title IV, HEA programs.

       253.    For example, Defendant SHC’s FY2008 three-year cohort default rate was

24.25%. The FY2008 three-year cohort default rates for the other Defendant Schools were as

follows: Defendant CAA: 39.74%; Defendant CAD: 32.02%; and Defendant CCSD: 30.67%.

See Department of Education, FY2008 Cohort Default Rates (Updated April 2011), Column:




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“Trial      3-Year    Default     Rate,”    available    at    http://studentaid.ed.gov/about/data-

center/student/default.

          254.   The 2010 two-year cohort default rate for Defendant SHC’s students was 19.7%.

The 2010 two-year cohort default rates for the other Defendant Schools were as follows:

Defendant CAA: 19.9%; Defendant CAD: 26.2%; and Defendant CCSD: 15.3%.                         See

Department of Education, Official 2-Year Cohort Default Rate Search for Postsecondary Schools

(Fiscal           Years          2010,          2009,         2010),          available          at

http://www.nslds.ed.gov/nslds_SA/defaultmanagement/search_cohort _2yr.cfm.

          255.   Graduation rates at Defendant Schools are similarly dismal. For example, for the

2010-11 academic year, the mean graduation rate among Defendant Schools was a scant 40%.

(Information reported from the mean across all reporting Defendant Schools; information

derived from data available from Department of Education’s Integrated Postsecondary Education

Data System.)

          256.   Defendant Schools’ use of the interview-to-start conversion rate as the measure of

performance for many, if not most, of their incentive compensation programs has a particularly

perverse effect on ACs’ recruiting practices. Whereas pure start-based quotas do not punish

AC’s for determining that a particular prospect is not genuinely interested in Defendant Schools’

programs or cannot benefit from the education that Defendant Schools provide, the conversion

rate measures ACs on their ability to convince each and every prospect to enroll, regardless of

whether the student really desires to attend or can actually benefit from the education. The use

of the conversion rate as a measure of AC performance—and determining eligibility for bonuses

based on that measure—punishes ACs for determining that, for example, a prospective student

cannot benefit from Defendant Schools’ programs or does not want to study the programs




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offered at a particular campus. Because the conversion-rate metric punishes ACs who determine

a prospective student is not a good fit for the school, it deters ACs from even attempting to elicit

information from a prospective student that might reveal the student is not a good fit.

Defendant Schools Have the Same Management and Policies, Which Were Formulated by
                                  Carl Barney

       257.    Until January 1, 2013, when Defendant Schools merged into CEHE, Carl Barney

was the sole shareholder and owner of Defendant Schools.

       258.    On information, Relators believe and allege that Mr. Barney was a corporate

director of each Defendant School until their merger. On information, Relators believe and allege

that Mr. Barney continues to maintain a central management role in CEHE and the individual

schools that are now part of CEHE. On information, Relators believe and allege that Barney has

played and continues to play an active and central role in all significant management decisions of

Defendant Schools, including their policies and practices relating to compensation.

       259.    On information, Relators believe and allege that Mr. Barney was the corporate

president of each Defendant School until their merger or held that position with each Defendant

School in recent past.

       260.    On information, Relators believe and allege that in these capacities, Mr. Barney

helped to formulate the policies and practices of all Defendant Schools, particularly policies and

practices related to AC compensation. Mr. Barney personally authored and sent numerous

“Procedure Directives,” “Management Memos,” and “Information Letters”—categories of

official corporate communication he devised—to campus directors, deans, and other employees,

including ACs. These messages were mostly sent from Mr. Barney’s personal email address.

Often, Mr. Barney would require employees to acknowledge their receipt of his communications

by requiring written confirmation from them, and he would track whether the employees had



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sent their acknowledgments. As a result of Mr. Barney’s personal involvement in establishing

business policies and practices for each Defendant School, Defendant Schools have similar, if

not identical, policies and practices with respect to AC compensation.

        261.   On information, Relators believe that Defendants Schools collectively used

CollegeAmerica Services, Inc., another company owned, managed, and operated by Carl Barney,

to provide centralized management and operational support to each of Defendant Schools.

CollegeAmerica Services, through Mr. Barney, may have also played a role is establishing

collective policies and practices for all Defendant Schools, including policies and practices

relating to AC compensation. As of January 1, 2013, CollegeAmerica Services also merged into

CEHE.

        262.   All Defendant Schools compile information about the performance of ACs at each

of their campuses into a single report, which, on information and belief, all Defendant Schools

distribute to each of their ACs. On some of these reports, Defendant Schools rank their ACs

based on the number of starts, and the ACs from all Defendant Schools are ranked on the same

scale and compared with one another. These reports specifically recognize the achievement of

the top three ACs, measured in terms of starts during the last module, from across all Defendant

Schools. Thus, the top three achieving ACs for any given report could be from different

Defendant Schools. Such practices serve to highlight how Defendant Schools employ collective

policies and standards for ACs and, particularly, for measuring ACs’ performance.

        263.   All Defendant Schools collectively publish a single course catalog for distribution

to students and prospective students.

        264.   All Defendant Schools prepare a single employment manual for ACs (i.e., the

Manual), which, on information and belief, all Defendant Schools provide to all new ACs.




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       265.    On information, Defendant Schools use the same application form for employees

and share human resource functions.

       266.    All Defendant Schools send their ACs to the same conventions in Las Vegas on

approximately a quarterly basis. At these conventions, ACs from all Defendant Schools are

provided the same instruction and training—including instruction about Defendant Schools’

compensation system for ACs and the Enrollment-Related Requirements for bonuses. At these

combined conventions, Defendant Schools also collectively recognize the top achievers among

all Defendant Schools, which recognition is typically based on the number of starts.

       267.    Based on this and other information, Relators believe and allege that Defendant

Schools have shared policies and practices for many aspects of their businesses, including for

ACs and, particularly, for AC compensation. Because Defendant Schools use the same AC

compensation practices, Relators’ experiences at Defendant SHC’s Orem campus are materially

similar to the experiences of ACs at Defendant SHC’s other campuses and at all other Defendant

Schools.

      D.      Defendant Schools’ Compensation Practices Did Not Qualify for Regulatory
              Safe Harbor

       268.    As previously set forth in this Complaint, in 2002, the Department of Education

issued regulations accompanying the Incentive Compensation Ban to clarify that under

regulatory safe harbors, schools could pay certain types of compensation without violating the

Incentive Compensation Ban. The Department of Education eliminated these regulatory safe

harbors in 2011.

       269.    Under Regulatory Safe Harbor A, schools were allowed to pay “fixed

compensation, such as a fixed annual salary or a fixed hourly wage, as long as that compensation

[wa]s not adjusted up or down more than twice during any twelve month period, and any



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adjustment [wa]s not based solely on the number of students recruited, admitted, enrolled, or

awarded financial aid.” 34 C.F.R. § 668.14(b)(22)(ii)(A) (July 1, 2010).

       270.    Defendant Schools’ above-described conduct, however, did not fall within the

purview of, or satisfy, Regulatory Safe Harbor A for several reasons.

       271.    First, Defendant Schools’ compensation system, as practiced, was not eligible for

Regulatory Safe Harbor A because the compensation at issue was not “fixed compensation”

within the meaning of Regulatory Safe Harbor A. Instead of a permissible “fixed annual salary”

or “fixed hourly wage,” the compensation at issue was a form of incentive compensation—

bonuses. Indeed, Defendant Schools themselves stated that the bonus payments were “not part of

regular compensation.” The bonuses were not “fixed compensation” because they constantly

fluctuated in value—worth anywhere from nothing to many thousands of dollars. Additionally,

the bonuses were not an hourly wage—they did not depend on the number of hours worked—nor

were they a form of salary—they were not regular payments of a certain amount.

       272.    Second, because Defendant Schools paid the “completion” bonuses monthly, as

the ACs earned the bonuses, the bonus payments caused ACs’ compensation to fluctuate month

to month. Stated otherwise, Defendant Schools adjusted ACs’ compensation up or down each

month—more than twice during any twelve-month period.

       273.    Third, with respect to the non-“completion” bonuses that Defendant SHC offered

and paid to ACs, such bonuses were based solely and exclusively on enrollments. Such bonuses

ran afoul of Regulatory Safe Harbor A, which expressly required that “any adjustment” in an

ACs compensation “not [be] based solely on the number of students recruited, admitted, [or]

enrolled.”




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       274.     Under Regulatory Safe Harbor E, schools were permitted to pay “[c]ompensation

that [wa]s based upon students successfully completing their educational programs, or one

academic year of their educational programs, whichever is shorter.”                34 C.F.R.

§ 668.14(b)(22)(ii)(E).

       275.     Defendant Schools’ above-described conduct, however, did not fall within the

purview of, or satisfy, Regulatory Safe Harbor E for several reasons.

       276.     First, Defendant Schools did not pay the “completion” bonuses “based upon” a

student’s success in completing one academic year of study but instead paid bonuses to ACs for

achieving the Enrollment-Related Requirements. Defendant Schools structured the “completion”

bonus requirements so that the Enrollment-Related Requirements determined whether an AC

received a bonus. Unless an AC had met the minimum Enrollment-Related Requirements, the

AC would receive no bonuses at all, irrespective of the number of students who had completed

the required credit hours. Under Defendant Schools’ compensation practices, an AC responsible

for dozens of completing students would receive no bonus compensation if she failed to meet the

Enrollment-Related Requirements, while another AC who had just one completing student could

receive a substantial bonus for meeting the Enrollment-Related Requirements. The “completion”

bonus was not “based upon” completions—the completions were just an administratively

expedient way to try to hide the real criteria for the bonuses: the Enrollment-Related

Requirements.

       277.     Because the Enrollment-Related Requirements were far more difficult for ACs to

attain, meeting the Enrollment-Related Requirements motivated AC activity.           Although

Regulatory Safe Harbor E was expressly designed to motivate recruiters, such as ACs, to focus

on the quality of a potential student recruitment, rather than on the sheer number of students




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recruited, Defendant Schools’ “completion” bonus system, by imposing the Enrollment-Related

Requirements, returned the focus to the sheer number of students each AC enrolled.

       278.      For example, under Defendant Schools’ “completion” bonus program, an AC

who, in a given module, carefully recruits four (4) students who each complete their first year of

study receives no bonuses, while another AC who uses high-pressure sales tactics to recruit eight

(8) students of dubious quality, only two (2) of which complete their first year of study, receives

substantial bonuses. Because the average student at Defendant Schools receives at least some

form of Title IV funding assistance, in both cases the Department of Education is likely paying

significant sums to help the students pay for tuition at Defendant Schools. In the first case, the

Department of Education has received good value for its investment—four students who are

likely to graduate. In the latter case, the Department of Education has not received a good value

for its investment—it paid for eight students, but received only two who were likely to graduate.

However, Defendant Schools financially benefit more from the latter recruiter, who has

generated eight students paying tuition using Title IV funding, than from the first recruiter, who

has only generated four tuition-paying students. Defendant Schools’ compensation system was

designed to encourage the latter, even though it is contrary to the letter and spirit of Regulatory

Safe Harbor E.

       279.      Second, none of the regulatory safe harbors, other than Regulatory Safe Harbor A,

permitted schools to consider an employee’s success in enrolling students as any part of the

compensation decision.       As a result, Defendant Schools’ use of the Enrollment-Related

Requirements as part of the “completion” bonus program removed such compensation from the

protections afforded by Regulatory Safe Harbor E.




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       280.    Third, none of non-“completion” bonuses that Defendant SHC offered and paid to

ACs qualified for protection under Regulatory Safe Harbor E because none of those bonuses was

related in any way to a student’s completion of one year of study. Instead, all of the non-

“completion” bonuses were directly tied to the ACs’ success in enrolling and starting students.

       281.    Consequently, Defendant Schools’ compensation system, as practiced, violated

the Incentive Compensation Ban and did not qualify for protection under the regulatory safe

harbors.

           Defendant Schools Knowingly Violated the Incentive Compensation Ban

       282.    Under the False Claims Act,

               the terms “knowing” and “knowingly”—

               (A) mean that a person, with respect to information—

               (i) has actual knowledge of the information;

               (ii) acts in deliberate ignorance of the truth or falsity of the
               information; or

               (iii) acts in reckless disregard of the truth or falsity of the
               information; and

               (B) require no proof of specific intent to defraud.

31 U.S.C. § 3729(b)(1).

       283.    Defendant Schools knew (and know) that their compensation practices violate the

Incentive Compensation Ban and did not qualify for any regulatory safe harbors. Consequently,

when Defendant Schools made statements and certifications in their PPAs and other documents,

such as compliance audit Management Assertions, G5 Certifications, school certifications

associated with FDLP and FFELP loans, and MPNs, regarding their compliance with the

Incentive Compensation Ban and eligibility for Title IV funding, those statements were

knowingly false. Defendant Schools’ compensation practices are inconsistent with Defendant



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Schools’ statements and certifications of compliance in their PPAs, compliance audit

Management Assertions, and other documents.

       284.    At the time that Defendant Schools stated in their PPAs and other documents that

they would not make incentive payments to admissions personnel based on their success in

securing enrollments, Defendant Schools knew that they were paying, and planned to continue to

pay, admissions personnel incentive payments based directly on their success in securing

enrollments.

       285.    Defendant Schools knew that their misrepresentations regarding compliance with

the Incentive Compensation Ban would result in the payment of federal funds and that a

reasonable and foreseeable consequence of such misrepresentations was that such funds would

be paid out.

       286.    Defendant Schools’ Manual discusses the Incentive Compensation Ban in detail,

including the requirements for the regulatory safe harbors. Defendant Schools’ Manual states

that “[a]ccording to Federal Regulations [sic] . . . bonuses, commissions or other incentive

payments may not be paid to any employee based, directly or indirectly, on starts. (Manual at

33 (emphasis in original), Exhibit 5.) The Manual then sets forth the pertinent parts of the

Incentive Compensation Ban in full.       (Id.)   The Manual concludes that “according to the

regulation, incentives relating to enrolling students is generally prohibited.” (Id.) Nevertheless,

Defendant Schools’ compensation practices violate this prohibition.

       287.    The Manual also explains and summarizes, generally correctly, the applicable

regulatory safe harbors.   The Manual attempts to explain how Defendant Schools’ written

compensation plan falls within Regulatory Safe Harbor E. However, Defendant Schools’ actual

compensation practices are materially different from their written compensation plan. These




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differences remove Defendant Schools’ compensation practices from the protection afforded by

Regulatory Safe Harbor E, as well as all other regulatory safe harbors.

       288.    That Defendant Schools knew (and know) their compensation practices violate

the Incentive Compensation Ban is demonstrated by the material differences between Defendant

Schools’ written compensation plan, as set forth in Manual, and Defendant Schools’ actual

compensation practices. On information, Relators believe and allege that Defendant Schools

prepared the written compensation plan for the Manual to demonstrate to the Department of

Education and ACCSC that its “official” compensation plan complied with the Incentive

Compensation Ban and applicable regulatory safe harbors. On information, Relators believe and

allege that Defendant Schools failed to include their actual compensation practices in the Manual

because they knew that such practices violated the Incentive Compensation Ban and failed to

qualify for protection under the regulatory safe harbors.

       289.    That Defendant Schools knew (and know) that their compensation practices

violated the Incentive Compensation Ban and did not qualify under any of the regulatory safe

harbors is also demonstrated by the fact that in 2009, Defendant Schools retrieved (or attempted

to retrieve) all copies of their Manual that contained charts and other possible information

revealing that Defendant Schools determined ACs’ bonuses based, at least in part, on the number

of students each AC started and each AC’s three-module average number of starts. Although

Defendant Schools did not modify their compensation practices in any material way when they

revised the Manual—and specifically continued to base AC bonuses on start-related performance

measures, specifically the Enrollment-Related Requirements—Defendant Schools removed all

references to such practices in their written Manual because they knew that such practices were

unlawful.




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       290.   Defendant SHC’s Director of Admissions for the Orem campus admitted knowing

that Defendant SHC’s non-“completion” bonuses were not lawful.

       291.   Additionally, Defendant Schools’ upper management “coached” ACs at

Defendant SHC’s Orem campus about how to respond to inquiries from auditors from the

Department of Education concerning the propriety of Defendant SHC’s enrollment practices,

demonstrating that Defendant Schools knew their enrollment practices were inappropriate. On

information, Relators believe and allege that Defendant Schools’ management had similar

discussions with ACs and employees of other campuses to cover up Defendant Schools’ true

compensation practices.

       292.   In 2012, ACCSC scheduled a “surprise” visit to various campuses of Defendant

Schools. Although the visits were considered unannounced, Defendant Schools actually received

several days’ notice of the inspections. The day before the ACCSC’s visit to the Salt Lake

City/Murray campus, the written bonus policy for ACs was altered, the new version was printed

and distributed, and employees were told to destroy the copies of the existing bonus policy so

that ACCSC could not review them. Defendant Schools’ Chief Operating Officer, Barbara

Thomas, who came to the campus to supervise ACCSC’s visit became irate when she found out

that an employee still had a copy of the replaced bonus policy—changed the day prior—on her

desk. Ms. Thomas berated the Campus Director, Robert Salmon, about the fact the employee had

the replaced policy where ACCSC could potentially view it.

       293.   In another case, Barbara Thomas went to the Defendant Schools’ Boise campus

just before, and during an ACCSC audit. Just before the audit, Ms. Thomas told the ACs to take

their manuals home so that auditors could not see the manuals, which, on information, contained




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information on how ACs could achieve bonuses and how these bonuses were based on

enrollment statistics.




                               REDACTED




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                                       REDACTED




      F.      Defendant SHC’s Violation of Attendance-Taking and Refund Requirements

       300.    Through their work, Ms. Brooks and Ms. Wride became aware of certain

practices at SHC’s Orem campus relating to the falsification of attendance records by both

faculty and administration. Both faculty and administrative personnel were known to mark

students present on official attendance forms when students did not, in fact, attend classes.

       301.    Similarly, faculty and administrative officials would alter attendance reports to

show that certain students had attended classes when the students had not actually done so.

       302.    In one example, a professor recorded a student as having perfect attendance even

though the student had given birth during the module in a different part of the state and had not

been to the campus since that time.

       303.    In another example, a professor submitted a grade change form for a grade that

another professor had given the student. The grade change form indicated that the “reason” for

the grade change was that a “death in the family” had resulted in “almost no attendance.”


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However, the original attendance records for the class indicated that the student had perfect

attendance.

       304.    In another example, an instructor submitted an attendance reporting sheet during

the first week of an externship that was completely filled out and that indicated the student had

perfect attendance for the module that had only just begun.

       305.    As an additional example, a professor was found “incorrectly report[ing]

attendance,” including “record[ing] student attendance when the student was actually not in the

building or completing a documented assignment in replacement of attendance,” because of the

instructor’s “drive to qualify for bonus dollars.” Email communications between the instructor,

Dr. Stephen Babb, the Dean of Education at SHC’s Orem Campus, Mr. Collier, and others

document several examples of an instructor marking students present when the students had not,

in fact, attended the classes in question.

       306.    Defendant SHC’s own internal communications demonstrate the school was

aware of the consequence of falsely reporting student attendance. In one such email

communication, Dr. Babb wrote that “the attendance roll and grade sheet are official documents .

. . that when they are signed by the instructor, they represent legal documents that are used to

draw down federal funds.” The communication notes that “we have to be able to certify their

accuracy.”

       307.    Nevertheless, if Defendant SHC’s records at the end of a disbursement period

indicated that SHC was required to reimburse Title IV funds to the Department of Education

because a student had failed to attend class, Defendant SHC’s administration would ask the

instructor who had marked the student absent whether the attendance records could be modified




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so that SHC would not have to return Title IV funds. Mr. Collier observed the administration put

“lots of pressure” on instructors to change the attendance records.

         308.   By reporting a student as having attended classes when he or she did not,

Defendant SHC either (i) delayed the applicable withdrawal date, 34 C.F.R. §§ 668.22(b)(1)

(“[T]he student’s withdrawal date is the last date of academic attendance as determined by the

institution from its attendance records.”), thereby fraudulently inflating the amount of Title IV

funds the student appeared to have earned and lowering the amount SHC was obligated to return

to the Department of Education, or (ii) completely avoided reporting a student as having

withdrawn (i.e., having ceased attending classes), thereby fraudulently avoiding any obligation to

return unearned Title IV funds to the Department of Education. By recording students as having

attended classes that they did not attend, SHC falsely represented that the students had earned

more Title IV funding than they actually had earned, even though SHC was legally obligated to

refund the unearned funds to the Department of Education.

         G.     Defendant SHC’s Violation of Academic Progress Requirements

         309.   Through their work, Ms. Brooks and Ms. Wride became aware of certain

practices at SHC’s Orem campus relating to the falsification of grades by both faculty and

administration. Faculty and administrative staff would falsify students’ grades by various means,

including employing grading standards that guaranteed students would receive passing grades or

by simply giving students grades they did not earn.

         310.   Because faculty members were paid bonuses both based on the number of

students who “successfully” completed their courses and based on students’ evaluations, faculty

members had an incentive to ensure that all students received passing scores—regardless of

merit.




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       311.    Specifically, both Ms. Brooks and Ms. Wride are aware that SHC’s Orem campus

registrar, Austin Collier, was directed to change a student’s grade from a failing grades (“F”) to a

passing grade by the Director of the Orem campus’s Financial Aid Office, Mary Jo Barratt, so

that the school could “order more money [from the Department of Education] for the student.”

       312.    In another example, Dr. Bryan Thayn, an instructor, attempted to change a

student’s grade two years after the grade was first reported in order to make the student eligible

for Title IV funding and so that the school could obtain that funding on behalf of the student.

       313.    In another example, a student that only attended two classes during the entire

module was given an 88% for attendance, was given credit for a paper that she never wrote, and

was given a passing grade by the instructor.

       314.    As another example, a professor submitted a grade change form for a student—

from a D to a C+ —for a class the student had not yet taken and that was scheduled to begin in

the future. This grade change was submitted for the same student, described above, who had

recently given birth and was unable to attend classes because of her distance from the campus.

       315.    As an additional example, it appeared that a professor submitted grades for an

externship that the students never actually participated in.

       316.    On information, Relators believe and alleged that instructors at SHC’s Salt Lake

City/Murray campus also engaged in grade falsification. For example, instructors in the business

school regularly “rubber stamped” perfect grades (100%) for all of their students, regardless of

actual performance.

       317.    Defendant SHC’s faculty was paid bonuses based on the number of students who

“successfully completed” their courses. Instructors were not given bonuses for students given




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failing grades. Instructors would receive larger bonuses as greater percentages of the students in

their classes “successfully completed” their courses.

       318.    Mr. Collier was aware that instructors submitted passing grades for students who

had failed to complete all of the necessary course work based on the assumption that the students

would complete make-up work in lieu of work they had missed but prior to the make-up work

actually being completed.

       319.    Furthermore, correspondence between Mr. Collier and faculty members

documents the faculty members’ use of grading scales that guaranteed that every student would

receive a passing grade in the class.

       320.    If Defendant SHC’s records at the end of a disbursement period indicated that

SHC was required to reimburse Title IV funds to the Department of Education because a student

had failed to make satisfactory academic performance, Defendant SHC’s administration would

ask the instructor who had given the student failing grades whether the grade could be modified

so that SHC would not have to return Title IV funds. Mr. Collier observed the administration put

“lots of pressure” on instructors to change grades.

       321.    By giving students grades they did not earn and by grading students based on

impossible-to-fail standards, SHC ensured that those students would continue to take additional

classes from SHC that were paid for using Title IV funds, even though the students were not

eligible to take any additional classes or utilize any additional Title IV funds.

       Defendant SHC Knowingly Submitted False Attendance Records and Grades

       322.    Defendant SHC knew that it was required to submit accurate information

concerning student attendance and grades, that its submission of this information constituted a

certification by the school to the Department that the information it supplied was accurate, and

that submitting false information concerning attendance and grades was unlawful. Indeed, SHC


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was well aware that it submitted such information to the Department of Education in order to

request additional Title IV funding—or, in the vernacular of SHC, to “order more money” from

the Department of Education

       323.     Indeed, ACCSC’s accreditation standards expressly require SHC to accurately

maintain grade and attendance records and enforce reasonable academic performance

requirements.

       324.     Additionally, Defendant Schools’ combined course catalog discusses the

importance of academic progress and attendance and the necessity of students attending classes

and meeting minimum academic performance standards.

       325.     Managerial-level employees at Defendant SHC’s Orem campus were often

directly and personally involved in the violations of the attendance and grading regulations,

despite warnings from Dr. Babb.

      H.        Defendant Schools’ Violation of Accrediting Standards

       326.     In the summer of 2010, Ms. Wride changed jobs, becoming the executive

assistant to Dr. Stephen Babb, the Dean of Education at SHC’s Orem Campus.

       327.     Soon after she started working as Dr. Babb’s executive assistant, Dr. Babb asked

Ms. Wride to investigate each faculty member’s qualifications, including education, work, and

clinical experience, to ensure that each faculty member met the minimum accrediting standards

of ACCSC.

       328.     ACCSC is the accrediting agency for Defendant SHC.

       329.     In the course of her investigation, Ms. Wride discovered that many faculty

members at SHC’s Orem campus did not have the required minimum qualifications, as

established by the ACCSC, to teach the courses that SHC had assigned them to teach. For




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example, several faculty members lacked sufficient academic degrees and/or related practical

work experience to meet the ACCSC accreditation standards for faculty members.

       330.   As an example, Ms. Wride discovered that Dr. Robert Roberts did not have the

minimum number of years of related practical work experience that the ACCSC required him to

have to be eligible to teach certain courses, including medical and radiological course, in the

Medical Specialties and Health Care Administration programs.

       331.   Ms. Wride discovered the deficiencies in Dr. Roberts’ background when she

reviewed the information in SHC’s “Faculty Personnel Report” for Dr. Roberts. SHC prepares

such Faculty Personnel Reports for the ACCSC to demonstrate that the faculty members meet

the minimum accreditation standards. The Faculty Personnel Reports specifically state: “By

submitting this report to ACCSC, both the school and the faculty member certify that the

information contained herein, attached hereto, and maintained on file with the school is correct

and that the faculty member’s qualifications comply with the applicable Standards of

Accreditation.”

       332.   Ms. Wride found mistaken, misleading, or untrue representations in Dr. Roberts’

Faculty Personnel Report. Indeed, Ms. Wride contacted the businesses that Dr. Roberts claimed

to serve as his required practical work experience and found that Dr. Roberts had materially

misrepresented the nature of his prior work experience.

       333.   As a result, Dr. Roberts did not have the required minimum number of years of

practical work experience in the relevant subject area, as required by the ACCSC’s accrediting

standards, for him to teach the courses that SHC assigned him to teach and that he was in fact

teaching.




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       334.     Ms. Wride found similar problems with the claimed qualifications and credentials

of numerous other faculty members at SHC’s Orem campus.              For example, through her

investigation, Ms. Wride also discovered that Dr. Bryan Thayn did not have sufficient education

and related practical work experience to meet the ACCSC accreditation standards for faculty

members.      In particular, Ms. Wride discovered that Dr. Thayn had never practiced as a

chiropractor and had no related practical work experience and therefore did not have the

minimum number of years of related practical work experience required by the ACCSC to teach

the courses that SHC assigned him to teach and that he was in fact teaching.

       335.     Ms. Wride brought these deficiencies to the attention of Dr. Babb. Dr. Babb

informed Ms. Wride that he was already aware of the shortcomings in the qualifications and

credentials of several of the faculty members. Dr. Babb told Ms. Wride that when he previously

brought the problems to the attention of SHC’s upper management, he was nearly terminated for

exposing the problems. Dr. Babb asked Ms. Wride to “dig deeper” and report back to him.

       336.     After confirming her prior findings, Ms. Wride went back to Dr. Babb with the

information. Eventually, Dr. Babb went to Mr. Plant with the information. On information,

Relators believe and allege that SHC retaliated against Dr. Babb for attempting to bring to light

the fact that SHC had knowingly provided materially false Faculty Personnel Reports to ACCSC

by reprimanding Dr. Babb, withholding bonuses he had earned, and sanctioning him with a

three-day involuntary leave of absence.

       337.     Shortly thereafter, Mr. Plant called Ms. Wride into his office and demanded that

she stop investigating faculty qualifications and to stop doing anything more with respect to

faculty issues, even though Ms. Wride was specifically hired by Dr. Babb to track and document




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faculty qualifications and to ensure that SHC’s faculty members complied with accrediting

standards.

        338.     Ms. Wride showed documentary proof of the results of her investigation to Mr.

Plant during the meeting. In response, Mr. Plant told Ms. Wride to “leave it alone” and to “never

look at it again.”

        339.     Concerned about the information she had learned, Ms. Wride instead reported the

results of her investigation directly to Eric Juhlin, Chief Executive Officer of CollegeAmerica

Services, Inc., and Barbara Thomas, Chief Operating Officer of CollegeAmerica Services, Inc.

(On information, Relators believe and allege that CollegeAmerica Services provides

management, administrative, legal, human resource, and other services to all Defendant

Schools.)      Specifically, Ms. Wride showed the documentary proof establishing the faculty

members’ deficiencies to both Mr. Juhlin and Ms. Thomas and discussed in detail each item with

them. Even though Mr. Juhlin and Ms. Thomas assured Ms. Wride that they would address the

issue, no corrective action was ever taken. Most, if not all, of the faculty members that Ms.

Wride discovered had insufficient qualifications continue to teach courses at SHC that they are

not eligible to teach pursuant to ACCSC accreditation standards.

        340.     Additionally, SHC failed to correct any of its prior false representations to the

ACCSC regarding the faculty members’ qualifications.

        341.     Instead, after Ms. Wride brought the materially erroneous information to the

attention of Defendant Schools’ most senior management, SHC continued to submit the same

false Faculty Personnel Reports to the ACCSC to maintain its accreditation.

        342.     Additionally, for a certain period of time, Ms. Wride was responsible for

preparing the Faculty Personnel Reports that SHC provided to the ACCSC. Generally speaking,




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the faculty member would provide information to prepare the reports to Ms. Wride, who would

investigate the information provided to determine whether it was accurate and truthful. She

would then prepare the written report for the faculty member to sign.             SHC management

pressured Ms. Wride to provide false information on many of the reports. Ms. Wride refused to

complete any report that SHC pressured her to falsify.

       343.    After Mr. Plant learned that Ms. Wride had reported the results of her

investigation to Mr. Juhlin and Ms. Thomas, he stripped her of all responsibility and excluded

her from day-to-day operations in retaliation. Ms. Wride believes that SHC did not want to risk

firing her because of the information she had learned.

       344.    Ms. Brooks also believes that SHC stripped Ms. Wride of all responsibilities

because Ms. Wride brought the fact that SHC’s faculty lacked the requisite qualifications to the

attention of Defendant School’s upper-level management.

       345.    The ACCSC conducted an audit of SHC’s Orem campus in approximately spring

2011. SHC’s management forced Ms. Wride to “take the day off” to make sure that Ms. Wride

did not have any contact with the auditors and, in particular, to prevent Ms. Wride from

disclosing the results of her investigation about insufficient faculty qualifications to the auditors.

       346.    In further retaliation for Ms. Wride’s report to Mr. Juhlin and Ms. Thomas, Mr.

Plant had Ms. Wride dropped from SHC’s respiratory therapy program. At the time, Ms. Wride

only needed six additional classes to complete her bachelor’s degree.

       347.    When Ms. Wride contacted Ms. Thomas to complain of her treatment, Ms.

Thomas agreed to reinstate Ms. Wride and to waive her tuition and fees if Ms. Wride agreed to

be quiet about the faculty qualifications problems and to “just leave things alone.”




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       348.    Ms. Wride resigned her employment with SHC on June 6, 2011, three days after

she graduated and after she found a job as a respiratory therapist.

       349.    Both before and after resigning her position at SHC, Ms. Wride attempted to

report the faculty qualifications problems to the Department of Education and the ACCSC.

Neither the Department of Education nor the ACCSC ever responded to any of her reports.

       350.    Ms. Wride’s experience with reporting ACCSC violations to the most senior

management of Defendant Schools, only to have those concerns ignored, is consistent with

Defendant Schools’ open disregard for the ACCSC and its accrediting standards.

       351.    Indeed, Mr. Barney and Mr. Juhlin, during a company meeting in November

2011, stated that ACCSC standards would not prevent Defendant Schools from taking a course

of action, regardless of whether ACCSC standards prohibited the practice. For example, when

employees questioned whether certain practices were permitted under ACCSC standards, Mr.

Barney and Mr. Juhlin responded, in effect, that Defendant Schools would do as they “please and

ask for forgiveness later.”

       352.    Mr. Barney later told a former Campus Director that he did not really care about

the ACCSC standards.

       353.    This corporate policy of open disregard for ACCSC standards manifested itself in

many ways. For example, before an ACCSC visit to the Wyoming campus of Defendant

Schools in 2012, Defendant Schools’ former Chief Operating Officer, Barbara Thomas, told

employees to deceive ACCSC representatives by failing to show them the room where textbooks

were held.    Ms. Thomas also told employees to remove promotional materials relating to

Defendant Schools’ GED program so that ACCSC representatives would not see them.




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       354.    Defendants Schools’ efforts to mislead and deceive ACCSC has caused

employees to resign. The former Campus Director at the Wyoming campus of Defendant

Schools quit after she was forced to engage in deceptive practices during an ACCSC visit to the

campus. That Campus Director applied for unemployment benefits to the Wyoming Department

of Workforce Services based on her forced resignation.            The Wyoming Department of

Workforce Services allowed the unemployment benefits and determined that the employee quit

her job because she was directed to lie to accrediting agencies regarding business practices.

Defendant Schools failed even to respond to the Wyoming Department of Workforce Service’s

request for information in response.

       355.    The former Campus Director at the Wyoming campus also disclosed all of these

facts directly to Mr. Barney, including those relating to Ms. Thomas instructing her to mislead

and deceive ACCSC. On information, Relators believe and allege that Mr. Barney failed to take

any corrective action after being informed of these facts.

       356.    On information, Relators believe and allege that other campuses of Defendant

Schools have engaged in similar practices of using teachers and faculty members who do not

have the required qualifications to teach classes for which they are unqualified.

       357.    On information, Relators believe and allege that the Boise campus of Defendants

Schools hired a recent graduate of Defendant Schools to teach a computer networking class

despite the fact that ACCSC requires this type of class to be taught by a teacher with a certain

number of years of experience in the field. The new graduate had no such experience. In

another example, the Boise campus hired another recent graduate (with a bachelor’s degree from

Defendant Schools) to teach an English general education class that was meant to teach students

college success strategies. ACCSC required such classes to be taught by a teacher with a




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master’s degree, which the other recent graduate did not have. Further, the head of the medical

department for the Boise and Nampa campuses, and who taught classes in that department, was

also a recent graduate of Defendant Schools, and thus did not have the required years of

experience in the relevant field to teach the classes.

          358.   As another example, at the Salt Lake City/Murray campus, Defendant Schools

allowed instructors without the required years of experience to teach medical coding and billing

courses. That campus also allowed an instructor without a background in the law to teach a

business law course.

          359.   Similarly, Defendant Schools have circumvented ACCSC requirements relating to

faculty qualifications by formally assigning teachers with the required qualifications to teach

courses, but then substituting teachers without the proper qualifications to do the actual

instruction. For example, the Salt Lake City/Murray campus told students and ACCSC that a

professor with the required qualifications was teaching a philosophy class, but then used a

different teacher, without the required qualifications, to actually teach it. Nevertheless, the name

of the instructor with the required qualifications was included on all records associated with the

course, even though he never taught it.

          360.   Defendant Schools have engaged in a long-standing pattern and practice of using

unqualified teachers. As far back as the early 2000s, Defendant Schools assigned unqualified

instructors to teach courses. For example, at one Utah campus, Defendant Schools assigned an

instructor with an associate’s degree in computer technology to teach an upper-level English

course.

          361.   Defendant Schools have also violated ACCSC’s admission requirement standards.




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       362.     ACCSC standards require Defendant Schools to “develop[] admissions criteria

that are designed to admit only those students who are reasonably capable of successfully

completing and benefitting from the training offered.” (ACCSC Standards, Section V, A.1.)

       363.     ACCSC standards further require Defendant Schools to “use appropriate

techniques to assess whether applicants have the skills and competencies to benefit from the

training provided at the undergraduate level.” (Id. Section V.C.)

       364.     On information, Relators believe and allege that Defendant Schools have an

“open admissions policy,” which permits anyone with a high school diploma or equivalency

certificate to enroll, regardless of whether the potential student can benefit from the education.

Defendant Schools have no official screening practice for assessing a student’s ability to benefit,

aside from the requirement of a “personal statement” from the applicant. On information,

Relators believe and allege that the personal statements were not genuinely used to assess a

potential student’s competencies.     This policy violates ACCSC standards, which require

Defendant Schools to do more to determine whether students actually have the necessary “skills

and competencies to benefit” from the education. (Id.)

              Defendant SHC Knowingly Submitted False Information to ACCSC

       365.     On information, Relators believe and allege that Defendant SHC knowingly

prepared the false Faculty Personnel Reports before Ms. Wride became responsible for preparing

and verifying their accuracy. On information, Relators believe and allege that Defendant SHC

knowingly submitted these false Faculty Personnel Reports to ACCSC to obtain accreditation.

       366.     Defendant SHC’s management knew that several Faculty Personnel Reports that

SHC has previously submitted to ACCSC to obtain accreditation were materially false.

However, Defendant SHC did nothing to correct these false submissions to ACCSC.




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       367.    Ms. Wride specifically informed Defendant SHC’s senior management that

certain Faculty Personnel Reports that SHC had submitted to ACCSC were materially false.

Defendant SHC’s management took no corrective action in response to this information.

       368.    Instead of taking corrective action, Defendant SHC’s management took steps to

cover up the problem, including reprimanding Dr. Babb, taking away all responsibilities from

Ms. Wride, demanding that Ms. Wride stop looking into the issue and remain quiet about the

results of her investigation, and removing Ms. Wride from her program of study for refusing to

stay quiet about the problems she discovered.

       369.    Ms. Wride also specifically informed Defendant Schools’ senior management that

certain Faculty Personnel Reports that Defendant SHC had submitted to ACCSC were materially

false. Defendant Schools’ management took no corrective action in response to this information.

       370.    Instead of taking corrective action, Defendant Schools’ senior management

attempted to cover up of the information that Ms. Wride had discovered.           For example,

Defendant Schools’ senior management offered to allow Ms. Wride to attend school for no cost

in exchange for Ms. Wride agreeing to remain quiet about the faculty qualification problems and

false Faculty Personnel Reports.

       371.    Even after Ms. Wride brought the materially false information to the attention of

Defendant SHC’s and Defendant Schools’ senior management, Defendant SHC continued to

make the false Faculty Personnel Reports available to ACCSC as proof of the faculty members’

purported qualifications.

       372.    Even after Ms. Wride brought the materially false information to the attention of

Defendant SHC’s and Defendant Schools’ senior management, Defendant SHC’s management

asked Ms. Wride to prepare further false Faculty Personnel Reports.




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       373.    Knowing that the information Ms. Wride possessed about the false Faculty

Personnel Reports seriously jeopardized Defendant SHC’s accreditation, Defendant SHC’s

management told Ms. Wride to be absent from work on the day that ACCSC’s auditors were

scheduled to visit SHC’s Orem campus.

       374.    Defendant SHC knew that providing false Faculty Personnel Reports to ACCSC

would result in ACCSC accrediting Defendant SHC even though many of its faculty members

did not possess the minimum qualifications required under the relevant ACCSC accreditation

standards.

       375.    Defendant    SHC      knew   that     its   misrepresentations   concerning   faculty

qualifications, which it knew would cause ACCSC to accredit Defendant SHC, would result in

the payment of federal funds and that a reasonable and foreseeable consequence of such

misrepresentations was that such funds would be paid out.

       376.    On information, Relators believe and allege that SHC management has pressured

faculty at other SHC campuses to submit false information to SHC’s accreditors.                 On

information, Relators believe and allege that Defendant SHC has a pattern and practice of

submitting false information to accrediting agencies to obtain accreditation.

      I.      Defendant Schools’ Submission of False Claims

       377.    Every request for a federal grant, every request for a loan under FDLP, every

request for a federally guaranteed loan under FFELP, every interest payment on a subsidized

Stafford Loan, and every government payment on a loan made on behalf of a student attending

Defendant Schools constitutes a separate false claim.

       378.    A large majority of students attending Defendant Schools receive Title IV funding

assistance in one form or another.




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       379.   For example, during the 2010-2011 academic year, approximately 85% of

students attending Defendant Schools received some type of loan under a Title IV, HEA

program, while approximately 74% of students received a Pell Grant. (Information reported

from the mean across all reporting Defendant Schools; information derived from data available

from Department of Education’s Integrated Postsecondary Education Data System.)

       380.   During the 2009-2010 academic year, approximately 87% of students attending

Defendant Schools received some type of loan under a Title IV, HEA program, while

approximately 74% of students received a Pell Grant. (Id.)

       381.   Student A enrolled in Defendant SHC’s program on or about January 18, 2010.

On information, Relators believe and allege that Student A received a loan under a Title IV,

HEA program and may have received a Pell Grant. Ms. Brooks received a bonus for enrolling

Student A because Ms. Brooks met the Enrollment-Related Requirements.

       382.   Student B enrolled in Defendant SHC’s program on or about February 15, 2010.

On information, Relators believe and allege that Student B received a loan under a Title IV, HEA

program and may have received a Pell Grant. Ms. Brooks received a bonus for enrolling Student

B because Ms. Brooks met the Enrollment-Related Requirements.

       383.   Student C enrolled in Defendant SHC’s program on or about April 12, 2010. On

information, Relators believe and allege that Student C received a loan under a Title IV, HEA

program and may have received a Pell Grant. Ms. Brooks received a bonus for enrolling Student

C because Ms. Brooks met the Enrollment-Related Requirements.

       384.   Additionally, on information, Relators allege that Defendant SHC received Title

IV funding for Student A, Student B, and Student C at a time when the school was knowingly




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out of compliance with the (1) attendance-taking and refund requirements, (2) the academic

progress requirements, and (2) the faculty-qualification accrediting standards.

       385.    Each grant award, disbursement of FDLP loans, and government repayment of

loan interest or defaulted loan principal was caused by Defendants’ false certifications and

statements in the PPAs, compliance audit Management Assertions, G5 Certifications, MPNs,

school certifications, and other documents, that Defendant Schools were in compliance with the

Incentive Compensation Ban and were therefore eligible to receive Title IV funding. Defendants

made these false certifications and statements despite the fact that they had actual knowledge of

their falsity. Each request for payment constitutes a false claim under the FCA.

       386.    Each grant award, disbursement of FDLP loans, and government repayment of

loan interest or defaulted loan principal to a student attending Defendant SHC was caused by

Defendant SHC’s false certifications and statements in its Faculty Personnel Reports and other

documents that Defendant SHC’s faulty members met the minimum accrediting standards of the

ACCSC. Defendant SHC made these false certifications and statements despite the fact that it

had actual knowledge of their falsity. Each request for payment constitutes a false claim under

the FCA.

      J.      Defendant Auditors’ Submission of False Statements

       387.    As stated above, to remain eligible to receive Title IV funding, a school that

participates in any Title IV, HEA program must each year provide the Department of Education

with an annual compliance audit of its administration of Title IV, HEA programs, and an audit of

the school’s general purpose financial statements, prepared by independent auditors. 20 U.S.C. §

1094(c)(1)(A); 34 C.F.R. §§ 668.23(a)(2), (a)(4). Accountants preparing these audits for for-

profit schools, such as Defendant Schools, must conduct their annual financial statements and




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compliance audits in accordance with the Department of Education Office of Inspector General’s

Audit Guide, among other applicable standards and guidelines.

        388.    Defendant Auditors conducted the annual compliance and financial statement

audits for Defendant Schools from approximately July 1, 2002, to the present.

        389.    Defendant Auditors were required to comply with a variety of standards and

policies in conducting their audits of Defendant Schools. Among other requirements, Defendant

Auditors were required to perform the audits in accordance with the standards for financial audits

of the U.S. General Accounting Office’s Government Auditing Standards (“GAS”), issued by the

Comptroller General of the United States, and the Statements on Standards for Attestation

Engagements (SSAEs), as amended by SSAE #9, issued by the American Institute of Certified

Public Accountants (AICPA). (Audit Guide at I-1, Exhibit 2 hereto.) SSAE #3, as amended,

provides “that an examination-level engagement includes ‘designing the examination to detect

both intentional and unintentional noncompliance that is material to management’s assertion.’”

(Id. at I-3.)

        390.    One of the primary objectives of the audit and attestation activities of the

Defendant Auditors was to “determine and report whether” the school under investigation

“complied with laws, regulations, and the provisions of contracts or grant agreements which

could have a direct and material effect on the financial statements,” as well as “complied, in all

material respects with specified compliance requirements.” (Audit Guide at I-2.) Defendant

Auditors were required to use “due care to tailor the procedures so that the financial statement

audit and compliance attestation engagement objectives are achieved.” (Id.)




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        391.    The relevant audit requirements specifically require auditors, including Defendant

Auditors, to “design and perform procedures to provide reasonable assurance of detecting

significant illegal acts and to report . . . any fraudulent act or indication of such acts.” (Id. at I-2.)

        392.    The Audit Guide specifically instructs auditors, such as Defendant Auditors, to

“be aware of fraud or high risk areas and recognize basic weaknesses in internal control.” (Id. at

I-2.) The Audit Guide provides some examples of “high risk indicators” that trigger further

obligations on the part of auditors. (Id.; id. Appendix B.) The Audit Guide requires that “[u]pon

discovery of a fraudulent act or indication of such an act related to Title IV Federal programs,

regardless of dollar value,” an auditor must promptly report such information to the Department

of Education in writing. (Id. at I-4.)

        393.    The Audit Guide requires auditors to perform examination-level verification of

the following Required Management Assertion, among others: The school did “[n]ot pa[y] to any

persons or entities any commission, bonus, or other incentive payment based directly or

indirectly on success in securing enrollments, financial aid to students, or student retention [34

CFR 668.14(b)(22)].” (Id. at II-3.) The Audit Guide further explains that “the institution must

have methods of determining compliance with” this and the other eligibility requirements and

that the auditor must report any compliance failures.           (Id. at II-5 (emphasis in original).)

Additionally, the Audit Guide requires that “all instances of noncompliance identified . . . by the

[auditor] during his/her engagement must be reported as a finding in the Schedule of Findings

and Questioned Costs.” (Id. at I-15.)

        394.    In order to ensure that the Required Management Assertions are true and correct,

compliance auditors, such as the Defendant Auditors, must “[r]eview, evaluate, and document

the institution’s methodologies for determining compliance with institutional eligibility and




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participation criteria.” (Id. at II-5.) Indeed, the Audit Guide specifically requires compliance

auditors, such as Defendant Auditors, to “[t]est payroll and other disbursement records to

determine whether the institution paid to any persons or entities any commission, bonus, or other

incentive payment based directly or indirectly on success in: securing enrollments, financial aid

to students or student retention.” (Id. at II-7.)

        395.    Furthermore, the Department of Education’s Audit Guide, with which Defendant

Auditors were required to comply, specifically points out that auditors are required not only use

to due care in planning, performing, and evaluating the results of their investigation, they must

exercise “the proper degree of professional skepticism to achieve reasonable assurance that

material noncompliance will be detected.” (Id. at I-4 (quoting GAS, Paragraph 3.26).) In

particular, the Audit Guide “caution[s auditors] against ignoring basic weaknesses in internal

control, performing audit steps mechanically (auditing form over substance), and accepting

explanations for audit exceptions without competent evidence.” (Id.)

        396.    On information, Relators believe and allege that Defendant Auditors knowingly

failed to perform professionally competent audits of Defendant Schools, and particularly,

knowingly failed to adequately determine whether Defendant Schools’ compensation practices

for ACs and FAOs complied with all applicable legal requirements, and therefore, whether the

corresponding Required Management Assertions were true and correct.

        397.    Additionally, even though several (if not all) of Defendant Schools displayed

“high risk indicators” of fraud and abuse, on information, Relators believe and allege that

Defendant Auditors knowingly failed to identify or follow up on such indicators and knowingly

failed to notify the Department of Education, as required.




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       398.    On information, Relators believe and allege that Defendant Auditors should have

paid particular attention to Defendant Schools’ compensation practices for ACs because

Defendant Auditors knew that (1) Defendant Schools derived a substantial portion of their

revenues from Title IV, HEA programs; (2) a large majority of students attending Defendant

Schools paid for their education, at least in part, with Title IV funding; (3) Defendant Schools

expended large amounts on AC compensation; and (4) a large proportion of Defendant Schools’

compensation for ACs was denominated as “bonuses.”

       399.    On information, Relators believe and allege that Defendant Auditors issued

compliance audits and financial statement audit opinions knowing them to be false with respect

to Defendant Schools’ compliance with the Incentive Compensation Ban or in reckless disregard

of the truth or falsity of the information they provided to the United States on this subject.

       400.    On information, Relators believe and allege that Defendant Auditors made false

certifications of compliance respecting Defendant Schools’ financial statements and compliance

obligations while knowing that Defendant Schools would submit such certifications to the

Department of Education to obtain Title IV funding and to remain eligible to receive Title IV

funding. Indeed, on information, Relators believe and allege that Defendant Auditors intended

for the Department of Education to rely on their audit opinions and statements. As a result,

Defendant Auditors caused the United States to pay Title IV, HEA program funds to Defendant

Schools by such false and fraudulent compliance audit and financial statement audit opinions.

       401.    Defendant Auditors were required to know every significant aspect of Defendant

Schools’ AC compensation practices under applicable audit standards and guidelines.

Nevertheless, on information, Relators believe and allege that Defendant Auditors either failed to

discover that Defendant Schools’ AC compensation practices violated the Incentive




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Compensation Ban, even though they had a duty to discover such facts, or failed to disclose and

make known to the Department of Education that Defendant Schools’ AC compensation

practices violated the Incentive Compensation Ban.        Under either alternative, Defendant

Auditors facilitated Defendant Schools’ violation of the Incentive Compensation Ban even

though Defendant Auditors were specifically responsible for detecting and disclosing to the

Department of Education such violations.

       402.   On information, Relators believe and allege that Defendant Auditors received

substantial compensation for preparing the compliance audits and financial statement audit

opinions for Defendant Schools. On information, Relators believe and allege that Defendant

Auditors realized that if they made known Defendant Schools’ illegal compensation practices to

the Department of Education or even closely scrutinized such practices, as they were required to

do, they were likely to lose Defendant Schools’ business and the substantial compensation they

received from Defendant Schools.

       403.   On information, Relators believe and allege that each compliance audit and

financial statement audit opinion issued by Defendant Auditors expressly or impliedly stated that

Defendant Auditors had conducted their audit work in accordance with applicable standards and

guidelines, even though Defendant Auditors knew such certifications were false.

       404.   On information, Relators believe and allege that by issuing audit statements and

opinions that failed to disclose that Defendant Schools’ AC compensation practices violated the

Incentive Compensation Ban, Defendant Auditors facilitated the ongoing and long-term violation

of the Incentive Compensation Ban by Defendant Schools. Defendant Schools were required to

submit the audit reports from Defendant Auditors each year in order to establish to the

Department of Education that they had complied with all applicable rules and regulations,




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including the Incentive Compensation Ban, and that Defendant Schools would continue in

compliance with such rules and regulations going forward. Had Defendant Auditors disclosed

Defendant Schools’ violations of the Incentive Compensation Ban, the Department of Education

and ACCSC would have taken action against Defendant Schools and prevented further violations

of the Incentive Compensation Ban. By failing to disclose Defendant Schools’ violations of the

Incentive Compensation Ban, Defendant Auditors compounded the damages to the Department

of Education by permitting Defendant Schools’ to remain eligible for Title IV, HEA programs

year after year.

VII.   CLAIMS FOR RELIEF.

                                           CLAIM I

                   VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

        (31 U.S.C. § 3729(a)(1) (1986) -- False Claims Regarding Compliance With Title IV --
                         Against Defendant Schools and Defendant Auditors)

       405.    Relators re-allege and incorporate herein paragraphs 1 through 404.

       406.    From July 1, 2002, to May 20, 2009, Defendants knowingly presented or caused

to be presented false or fraudulent claims to the United States for payment, in violation of the

FCA, 31 U.S.C. § 3729(a)(1).

       407.    Specifically, Defendant Schools knowingly submitted or caused to be submitted

false certifications regarding compliance with the requirements of Title IV of the HEA, in, inter

alia, their PPAs and annual financial and compliance audits, as well as in student loan and grant

applications, in order to obtain eligibility to participate in Title IV, HEA programs and receive

Title IV funding, when in fact, Defendant Schools’ compensation practices did not comply with

the Title IV of the HEA and its associated safe harbor regulations.


                                       REDACTED
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                                  REDACTED                                         In submitting or

causing to be submitted such certifications and applications, Defendant Schools acted with actual

knowledge, reckless disregard, or deliberate ignorance of the truth or falsity of the claims.

       408.    Defendant Schools made express representations in writing to the Department of

Education that they would not make incentive payments to their admissions personnel based

directly or indirectly on their success in securing enrollments. These representations induced the

Department of Education to make students at Defendant Schools eligible for many forms of

financial aid under Title IV, HEA programs.           These representations were material to the

Department of Education’s decision to make Defendant Schools eligible for these financial aid

programs. At the time Defendant Schools made these representations, they knew that these

representations were false, and would continue to be false, because Defendant Schools were

paying their admissions personnel incentive payments based on their success in securing

enrollments. Therefore, Defendant Schools fraudulently induced the Department of Education to

make Defendant Schools eligible to participate in the Title IV, HEA programs, and each and

every one of the claims they submitted or caused a student to submit violated the FCA.

       409.    Even if Defendant Schools had not affirmed to the government that they would

comply with the Incentive Compensation Ban             REDACTED the mere fact that such
compliance was material to the government’s decision to make Defendant Schools eligible for

Title IV, HEA programs, combined with the fact that Defendant Schools, knowing that they were

in violation of the Incentive Compensation Ban REDACTED and therefore ineligible to

receive such student financial aid, submitted claims for student financial aid, caused students to

submit claims for student financial, and/or received such aid, makes Defendant Schools liable

under the FCA.




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       410.   Defendant Barney established, directed, and controlled the policies, practices, and

procedures of Defendant Schools, including policies, practices, and procedures relating to

Defendant Schools’ submission of materially false certifications and statements to the

Department of Education concerning their purported compliance with the Incentive

Compensation Ban and Defendant Schools’ actual compensation practices, including the

practices that violate the Incentive Compensation Ban. Even though Defendant Barney knew that

such compensation practices violated the Incentive Compensation Ban, he directed or permitted

Defendant Schools to expressly certify to the Department of Education that they were in

compliance with the Incentive Compensation Ban and to represent to the Department of

Education that Defendant Schools would comply with the ban. As a result, Defendant Barney

knowingly caused Defendant Schools’ submission of false claims to the Department of

Education.

       411.   Additionally, Defendant SHC expressly promised the Department of Education in

writing that it would comply with all applicable regulations concerning attendance-taking,

refunds of unearned Title IV funds, and requiring satisfactory academic progress of all students.

Defendant SHC later expressly certified to the Department of Education that it had, in fact,

complied with all such applicable regulations. However, at the time Defendant SHC made such

promises, representations, and certifications to the Department of Education, it knew that such

promises, representations, and certifications were materially false and that it did not intend to

comply with such regulations. Defendant SHC therefore fraudulently induced the Department of

Education to make SHC eligible to participate in the Title IV, HEA programs, and each and

every one of the claims they submitted or caused a student to submit violated the FCA. Further,

because Defendant SHC knew that compliance with such regulations was material to the




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Department of Education’s decision to permit SHC and its students to participate in Title IV,

Defendant SHC’s knowledge that it was not in compliance with such regulations renders every

request for Title IV funding that SHC and its students submitted false and fraudulent.

       412.    On information, Relators believe and allege that Defendant Auditors made

express or implied representations to the Department of Education that they performed their

audits of Defendant Schools in accordance with applicable standards and guidelines. These

representations induced the Department of Education to make students at Defendant Schools

eligible for many forms of financial aid. These representations were material to the Department

of Education’s determination that Defendant Schools were eligible to participate in Title IV,

HEA programs. At the time Defendant Auditors made these representations, they knew that

these representations were false, and would continue to be false, because Defendant Auditors did

not perform the audit steps and procedures required under applicable standards and guidelines.

Therefore, Defendant Auditors fraudulently induced the Department of Education to make

Defendant Schools eligible to participate in the Title IV, HEA programs, and each of the claims

they submitted or caused a student to submit violated the FCA.

       413.    In submitting or causing to be submitted such claims, Defendants acted with

actual knowledge, reckless disregard, or deliberate ignorance of the truth or falsity of the claims.

       414.    By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

                                            CLAIM II

                 VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

        (31 U.S.C. § 3729(a)(1)(A) (2009) - False Claims Regarding Compliance With Title IV
                        -- Against Defendant Schools and Defendant Auditors)

       415.    Relators re-allege and incorporate herein paragraphs 1 through 414.



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       416.    From May 20, 2009 to the present, Defendants knowingly presented or caused to

be presented false or fraudulent claims for payment to the United States, in violation of the FCA,

31 U.S.C. § 3729(a)(1)(A). Specifically, Defendant Schools knowingly submitted or caused to

be submitted false certifications regarding compliance with the requirements of Title IV of the

HEA, in, inter alia, their PPAs and annual financial and compliance audits, as well as in student

loan and grant applications, in order to obtain eligibility to participate in Title IV, HEA programs

and receive Title IV funding, when in fact, Defendant Schools’ compensation practices did not

comply with the Title IV of the HEA and its associated safe harbor regulations. In submitting or

causing to be submitted such certifications and applications, Defendant Schools acted with actual

knowledge, reckless disregard, or deliberate ignorance of the truth or falsity of the claims.

       417.    Defendant Schools made express representations in writing to the Department of

Education that they would not make incentive payments to their admissions personnel based

directly or indirectly on their success in securing enrollments.

                            REDACTED                                          These representations

induced the Department of Education to make students at Defendant Schools eligible for many

forms of financial aid under Title IV, HEA programs. These representations were material to the

Department of Education’s decision to make Defendant Schools eligible for these financial aid

programs. At the time Defendant Schools made these representations, they knew that these

representations were false, and would continue to be false, because Defendant Schools were

paying their admissions personnel incentive payments based on their success in securing

enrollments                 REDACTED                                Therefore, Defendant Schools

fraudulently induced the Department of Education to make Defendant Schools eligible to




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participate in the Title IV, HEA programs, and each and every one of the claims they submitted

or caused a student to submit violated the FCA.

       418.    Even if Defendant Schools had not affirmed to the government that they would

comply with the Incentive Compensation Ban REDACTED                    the mere fact that such

compliance was material to the government’s decision to make Defendant Schools eligible for

Title IV, HEA programs, combined with the fact that Defendant Schools, knowing that they were

in violation of the Incentive Compensation Ban REDACTED and therefore ineligible to

receive such student financial aid, submitted claims for student financial aid, caused students to

submit claims for student financial, and/or received such aid, makes Defendant Schools liable

under the FCA.

       419.    Defendant Barney established, directed, and controlled the policies, practices, and

procedures of Defendant Schools, including policies, practices, and procedures relating to

Defendant Schools’ submission of materially false certifications and statements to the

Department of Education concerning their purported compliance with the Incentive

Compensation Ban and Defendant Schools’ actual compensation practices, including the

practices that violate the Incentive Compensation Ban. Even though Defendant Barney knew that

such compensation practices violated the Incentive Compensation Ban, he directed or permitted

Defendant Schools to expressly certify to the Department of Education that they were in

compliance with the Incentive Compensation Ban and to represent to the Department of

Education that Defendant Schools would comply with the ban. As a result, Defendant Barney

knowingly caused Defendant Schools’ submission of false claims to the Department of

Education.




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       420.    Additionally, Defendant SHC expressly promised the Department of Education in

writing that it would comply with all applicable regulations concerning attendance-taking,

refunds of unearned Title IV funds, and requiring satisfactory academic progress of all students.

Defendant SHC later expressly certified to the Department of Education that it had, in fact,

complied with all such applicable regulations. However, at the time Defendant SHC made such

promises, representations, and certifications to the Department of Education, it knew that such

promises, representations, and certifications were materially false and that it did not intend to

comply with such regulations. Defendant SHC therefore fraudulently induced the Department of

Education to make SHC eligible to participate in the Title IV, HEA programs, and each and

every one of the claims they submitted or caused a student to submit violated the FCA. Further,

because Defendant SHC knew that compliance with such regulations was material to the

Department of Education’s decision to permit SHC and its students to participate in Title IV,

Defendant SHC’s knowledge that it was not in compliance with such regulations renders every

request for Title IV funding that SHC and its students submitted false and fraudulent.

       421.    On information, Relators believe and allege that Defendant Auditors made

express or implied representations to the Department of Education that they performed their

audits of Defendant Schools in accordance with applicable standards and guidelines. These

representations induced the Department of Education to make students at Defendant Schools

eligible for many forms of financial aid. These representations were material to the Department

of Education’s determination that Defendant Schools were eligible to participate in Title IV,

HEA programs. At the time Defendant Auditors made these representations, they knew that

these representations were false, and would continue to be false, because Defendant Auditors did

not perform the audit steps and procedures required under applicable standards and guidelines.




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Therefore, Defendant Auditors fraudulently induced the Department of Education to make

Defendant Schools eligible to participate in the Title IV, HEA programs, and each and every one

of the claims they submitted or caused a student to submit violated the FCA.

       422.    In submitting or causing to be submitted such claims, Defendants acted with

actual knowledge, reckless disregard, or deliberate ignorance of the truth or falsity of the claims.

       423.    By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

                                            CLAIM III

                 VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

        (31 U.S.C. § 3729(a)(1) (1986) - False Claims Regarding Compliance With Accrediting
                               Standards -- Against Defendant Schools)

       424.    Relators re-allege and incorporate herein paragraphs 1 through 423.

       425.    From July 1, 2002, to May 20, 2009, Defendant Schools knowingly presented or

caused to be presented false or fraudulent claims for payment to the United States, in violation of

the FCA, 31 U.S.C. § 3729(a)(1). Specifically, Defendant Schools knowingly submitted or

caused to be submitted false certifications of accreditation by the ACCSC, Defendant Schools’

accrediting agency.    Defendant Schools knowingly provided false information to ACCSC,

including false Faculty Personnel Reports, other false information about faculty qualifications,

false information about attendance-taking practices, and false information about student

academic performance practices, for the purpose of causing and inducing ACCSC to determine

that Defendant Schools met ACCSC’s minimum accrediting standards and were therefore

eligible for accreditation when in fact Defendant Schools did not meet the minimum accrediting

standards and were not eligible for accreditation. Defendant Schools knew that ACCSC would

communicate such accreditation decision, which was based on false information, to the



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Department of Education and that the Department of Education would rely on the ACCSC’s

accreditation to determine that Defendant Schools were eligible to participate in Title IV, HEA

programs. Defendant Schools knew that ACCSC’s accreditation determination was (and is)

material to the Department of Education’s decision to make Defendant Schools eligible to

participate in Title IV, HEA programs.        Therefore, Defendant Schools knowingly caused

ACCSC to fraudulently induce the Department of Education to make Defendant Schools eligible

to participate in the Title IV, HEA programs, and each and every one of the claims Defendant

Schools submitted or caused a student to submit violated the FCA.

          426.   Additionally, Defendant Schools knowingly submitted or caused to be submitted

false certifications regarding compliance with the requirements of Title IV of the HEA,

specifically the requirement that it meet the requirements established by a nationally recognized

accrediting agency, in their PPAs. Because Defendant Schools knew that they did not meet the

requirements established by the ACCSC with respect to faculty qualifications, attendance, and

academic performance, such certifications were knowingly false. Defendant Schools knew that

their certifications regarding compliance with the accrediting standards were material to the

Department of Education’s decision to make Defendant Schools eligible to participate in Title

IV, HEA programs. As a result, each and every one of the claims Defendant Schools submitted

or caused a student to submit violated the FCA.

          427.   In submitting or causing to be submitted such claims, Defendant Schools acted

with actual knowledge, reckless disregard, or deliberate ignorance of the truth or falsity of the

claims.

          428.   By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.




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                                           CLAIM IV

                  VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

              (31 U.S.C. § 3729(a)(1)(A) (2009) - False Claims Regarding Compliance With
                          Accrediting Standards -- Against Defendant Schools)

       429.     Relators re-allege and incorporate herein paragraphs 1 through 428.

       430.     From May 20, 2009 to the present, Defendant Schools knowingly presented or

caused to be presented false or fraudulent claims for payment to the United States, in violation of

the FCA, 31 U.S.C. § 3729(a)(1)(A). Specifically, Defendant Schools knowingly submitted or

caused to be submitted false certifications of accreditation by the ACCSC, Defendant Schools’

accrediting agency.    Defendant Schools knowingly provided false information to ACCSC,

including false Faculty Personnel Reports, other false information about faculty qualifications,

false information about attendance-taking practices, and false information about student

academic performance practices, for the purpose of causing and inducing ACCSC to determine

that Defendant Schools met ACCSC’s minimum accrediting standards and were therefore

eligible for accreditation when in fact Defendant Schools did not meet the minimum accrediting

standards and were not eligible for accreditation. Defendant Schools knew that ACCSC would

communicate such accreditation decision, which was based on false information, to the

Department of Education and that the Department of Education would rely on the ACCSC’s

accreditation to determine that Defendant Schools were eligible to participate in Title IV, HEA

programs. Defendant Schools knew that ACCSC’s accreditation determination was (and is)

material to the Department of Education’s decision to make Defendant Schools eligible to

participate in Title IV, HEA programs.        Therefore, Defendant Schools knowingly caused

ACCSC to fraudulently induce the Department of Education to make Defendant Schools eligible




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to participate in the Title IV, HEA programs, and each and every one of the claims Defendant

Schools submitted or caused a student to submit violated the FCA.

          431.   Additionally, Defendant Schools knowingly submitted or caused to be submitted

false certifications regarding compliance with the requirements of Title IV of the HEA,

specifically the requirement that they meet the requirements established by a nationally

recognized accrediting agency, in their PPAs. Because Defendant Schools knew that they did

not meet the requirements established by the ACCSC with respect to faculty qualifications,

attendance, and academic performance, such certifications were knowingly false. Defendant

Schools knew that their certifications regarding compliance with the accrediting standards were

material to the Department of Education’s decision to make Defendant Schools eligible to

participate in Title IV, HEA programs. As a result, each and every one of the claims Defendant

Schools submitted or caused a student to submit violated the FCA.

          432.   In submitting or causing to be submitted such claims, Defendant Schools acted

with actual knowledge, reckless disregard, or deliberate ignorance of the truth or falsity of the

claims.

          433.   By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

                                            CLAIM V

                  VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

          (31 U.S.C. § 3729(a)(2) (1986) - False Statements and Records Regarding Compliance
                  with Title IV -- Against Defendant Schools and Defendant Auditors)

          434.   Relators re-allege and incorporate herein paragraphs 1 through 433.

          435.   From July 1, 2002, to May 20, 2009, Defendants knowingly made, used, or

caused to be made or used false records or statements material to false or fraudulent claims, in



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violation of 31 U.S.C. § 3729(a)(2). Specifically, Defendant Schools knowingly made, used, and

caused to be made or used, false certifications regarding compliance with the requirements of

Title IV of the HEA, in, inter alia, their PPAs and annual financial and compliance audits, as

well as in student loan and grant applications, in order to obtain eligibility to participate in Title

IV, HEA programs and to receive Title IV funding, when in fact, Defendant Schools’

compensation practices did not comply with Title IV of the HEA and its associated safe harbor

regulations.

                                         REDACTED

       436.    Defendant Barney directed Defendant Schools’ submission of materially false

certifications and statements to the Department of Education, including those concerning their

purported compliance with the Incentive Compensation Ban and Defendant Schools’ actual

compensation practices, including the practices that violate the Incentive Compensation Ban.

Even though Defendant Barney knew that such compensation practices violated the Incentive

Compensation Ban, he directed or permitted Defendant Schools to expressly certify to the

Department of Education that they were in compliance with the Incentive Compensation Ban and

to represent to the Department of Education that Defendant Schools would comply with the ban.

As a result, Defendant Barney knowingly caused Defendant Schools’ submission of false claims

to the Department of Education.

       437.    Additionally, Defendant SHC expressly certified to the Department of Education

that it was in compliance with all regulations relating to attendance-taking, refunds of unearned

Title IV funds, and requiring satisfactory academic progress of all students. At the time

Defendant SHC made such certifications to the Department of Education, it knew that such




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certifications were materially false and that it did not intend to and was not then in compliance

with such regulations.

        438.    Defendant Auditors knowingly made, used, and caused to be made or used, false

certifications regarding Defendant Schools’ compliance with the requirements of Title IV of the

HEA in their annual audit reports for the purpose of inducing the Department of Education to

make Defendant Schools eligible to participate in Title IV, HEA programs when in fact,

Defendant Schools’ compensation practices did not comply with Title IV of the HEA and its

associated safe harbor regulations.

        439.    In making, using, or causing to be made or used such false records and

statements, Defendants acted with actual knowledge, reckless disregard, or deliberate ignorance

of the truth or falsity of the claims.

        440.    By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

                                            CLAIM VI

                  VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

             (31 U.S.C. § 3729(a)(1)(B) (2009) - False Statements and Records Regarding
            Compliance with Title IV -- Against Defendant Schools and Defendant Auditors)

        441.    Relators re-allege and incorporate herein paragraphs 1 through 440.

        442.    From May 20, 2009 to the present, Defendants knowingly made, used, or caused

to be made or used false records or statements material to false or fraudulent claims, in violation

of 31 U.S.C. § 3729(a)(1)(B).       Specifically, Defendant Schools knowingly made, used, and

caused to be made or used, false certifications regarding compliance with the requirements of

Title IV of the HEA, in, inter alia, their PPAs and annual financial and compliance audits, as

well as in student loan and grant applications, in order to obtain eligibility to participate in Title



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IV, HEA programs and to receive Title IV funding, when in fact, Defendant Schools’

compensation practices did not comply with Title IV of the HEA and its associated safe harbor

regulations.


                                  REDACTED

       443.    Defendant Barney directed Defendant Schools’ submission of materially false

certifications and statements to the Department of Education, including those concerning their

purported compliance with the Incentive Compensation Ban and Defendant Schools’ actual

compensation practices, including the practices that violate the Incentive Compensation Ban.

Even though Defendant Barney knew that such compensation practices violated the Incentive

Compensation Ban, he directed or permitted Defendant Schools to expressly certify to the

Department of Education that they were in compliance with the Incentive Compensation Ban and

to represent to the Department of Education that Defendant Schools would comply with the ban.

As a result, Defendant Barney knowingly caused Defendant Schools’ submission of false claims

to the Department of Education.

       444.    Additionally, Defendant SHC expressly certified to the Department of Education

that it was in compliance with all regulations relating to attendance-taking, refunds of unearned

Title IV funds, and requiring satisfactory academic progress of all students. At the time

Defendant SHC made such certifications to the Department of Education, it knew that such

certifications were materially false and that it did not intend to and was not then in compliance

with such regulations.

       445.    Defendant Auditors knowingly made, used, and caused to be made or used, false

certifications regarding Defendant Schools’ compliance with the requirements of Title IV of the




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HEA in their annual audit reports for the purpose of inducing the Department of Education to

make Defendant Schools eligible to participate in Title IV, HEA programs when in fact,

Defendant Schools’ compensation practices did not comply with Title IV of the HEA and its

associated safe harbor regulations.

        446.    In making, using, or causing to be made or used such false records and

statements, Defendants acted with actual knowledge, reckless disregard, or deliberate ignorance

of the truth or falsity of the claims.

        447.    By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

                                          CLAIM VII

                  VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

         (31 U.S.C. § 3729(a)(2) (1986) - False Statements and Records Regarding Compliance
                       With Accrediting Standards -- Against Defendant Schools)

        448.    Relators re-allege and incorporate herein paragraphs 1 through 447.

        449.    From July 1, 2002, to May 20, 2009, Defendant Schools knowingly made, used,

or caused to be made or used false records or statements material to false or fraudulent claims, in

violation of 31 U.S.C. § 3729(a)(2). Specifically, Defendant Schools prepared and caused the

preparation of false reports to the ACCSC regarding the qualifications of Defendant Schools’

faculty. On information, Relators believe and allege that ACCSC relied on these false reports

about faculty qualifications when it determined to accredit Defendant Schools.          Defendant

Schools knew that ACCSC would consult these false reports to make its accreditation decision

and that ACCSC would communicate its accreditation decision based on these false reports to

the Department of Education. Defendant Schools also knew that the ACCSC’s accreditation was

a condition to Defendant Schools’ eligibility to participate in Title IV, HEA programs and that



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the ACCSC’s accreditation was material to the Department of Education’s decision to make

Defendant Schools eligible to participate in Title IV, HEA programs.

        450.    Additionally, Defendant Schools knowingly submitted or caused to be submitted

false records or statements regarding compliance with the requirements of Title IV of the HEA,

specifically the requirement that it meet the requirements established by a nationally recognized

accrediting agency, in their PPAs. Because Defendant Schools knew that they did not meet the

requirements established by the ACCSC with respect to faculty qualifications, such certifications

were knowingly false. Defendant Schools knew that their certifications regarding compliance

with the accrediting standards were material to the Department of Education’s decision to make

Defendant Schools eligible to participate in Title IV, HEA programs. As a result, each and every

one of the claims Defendant Schools submitted or caused a student to submit violated the FCA.

        451.    In making, using, or causing to be made or used such false statements or records,

Defendant Schools acted with actual knowledge, reckless disregard, or deliberate ignorance of

the truth or falsity of the claims.

        452.    By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

                                          CLAIM VIII

                  VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

               (31 U.S.C. § 3729(a)(1)(B) (2009) - False Statements and Records Regarding
                  Compliance With Accrediting Standards -- Against Defendant Schools)

        453.    Relators re-allege and incorporate herein paragraphs 1 through 452.

        454.    From May 20, 2009 to the present, Defendant Schools knowingly made, used, or

caused to be made or used false records or statements material to false or fraudulent claims, in

violation of 31 U.S.C. § 3729(a)(1)(B). Specifically, Defendant Schools prepared and caused the



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preparation of false reports to the ACCSC regarding the qualifications of Defendant Schools’

faculty. On information, Relators believe and allege that ACCSC relied on these false reports

about faculty qualifications when it determined to accredit Defendant Schools.        Defendant

Schools knew that ACCSC would consult these false reports to make its accreditation decision

and that ACCSC would communicate its accreditation decision based on these false reports to

the Department of Education. Defendant Schools also knew that the ACCSC’s accreditation was

a condition to Defendant Schools’ eligibility to participate in Title IV, HEA programs and that

the ACCSC’s accreditation was material to the Department of Education’s decision to make

Defendant Schools eligible to participate in Title IV, HEA programs.

        455.    Additionally, Defendant Schools knowingly submitted or caused to be submitted

false records or statements regarding compliance with the requirements of Title IV of the HEA,

specifically the requirement that they meet the requirements established by a nationally

recognized accrediting agency, in their PPAs. Because Defendant Schools knew that they did

not meet the requirements established by the ACCSC with respect to faculty qualifications, such

certifications were knowingly false. Defendant Schools knew that their certifications regarding

compliance with the accrediting standards were material to the Department of Education’s

decision to make Defendant Schools eligible to participate in Title IV, HEA programs. As a

result, each and every one of the claims Defendant Schools submitted or caused a student to

submit violated the FCA.

        456.    In making, using, or causing to be made or used such false statements or records,

Defendant Schools acted with actual knowledge, reckless disregard, or deliberate ignorance of

the truth or falsity of the claims.




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        457.     By virtue of these false or fraudulent claims, the United States suffered damages

in an amount to be determined at trial.

VIII. PRAYERS FOR RELIEF

        WHEREFORE, Relators, on behalf of themselves and the United States, demand and

pray that judgment be entered in their favor against Defendants, as follows:

        1.       On Claims I through VIII under the FCA, as amended, for triple the amount of the

United States’ damages plus interest and such civil penalties as are allowable by law, together

with the costs of this action and such other and further relief as may be just and proper;

        2.       That judgment be entered in favor of Relators and the United States and against

the Defendants for actual damages, pre-judgment and post-judgment interest, litigation costs,

investigative costs, disgorgement of all profits, an accounting, to the fullest extent as allowed by

law, and for such further relief as may be just and proper;

        3.       That Relators be awarded all reasonable attorneys’ fees and costs, pursuant to 31

U.S.C. § 3730;

        4.       That to the extent the United States Government has intervened in this action, the

Relators be awarded an amount of at least 15% but not more than 25% of the proceeds of any

award or the settlement of the intervened claims; and

        5.       That to the extent that the United States Government has not intervened in this

action, the Relators be awarded an amount that the Court decides is reasonable, which is not less

than 25% nor more than 30% of the proceeds of any award or settlement for those claims.

IX.     JURY TRIAL DEMAND

        1.       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relators demand a

jury trial.




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DATED this 13th day of May 2014.



                                    /s/ Brandon J. Mark
                                    JOHN N. ZARIAN
                                    BRANDON J. MARK
                                    JOSEPH M. STULTZ
                                    PARSONS BEHLE & LATIMER
                                    Attorneys for Relators




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                                CERTIFICATE OF SERVICE

       I certify that on May 13, 2014, I caused the foregoing Second Amended Complaint

(Partially Sealed) to be served on the following in the manner specified:

                 Eric B Swartz
                 eric@jonesandswartzlaw.com
                 (attorney for defendants via the Court’s CM/ECF system
                 pursuant to LR 5.1(k))

                 Wendy J. Olson, United States Attorney
                 Amy S. Howe, Assistant United States Attorney
                 Amy.Howe@USDOJ.gov
                 (via the Court’s CM/ECF system pursuant to LR 5.1(k))


                                             /s/ Brandon J. Mark




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